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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

   Civil Action No.: 21-cv-02770-WJM-SKC

   EL PASO FIREMEN & POLICEMEN’S PENSION FUND, SAN ANTONIO FIRE & POLICE PENSION
   FUND, and INDIANA PUBLIC RETIREMENT SYSTEM, individually and on behalf of all others sim-
   ilarly situated,

        Plaintiffs,

   v.

   INNOVAGE HOLDING CORP.,
   MAUREEN HEWITT,
   BARBARA GUTIERREZ,
   JOHN ELLIS BUSH,
   ANDREW CAVANNA,
   CAROLINE DECHERT,
   EDWARD KENNEDY, JR.,
   PAVITHRA MAHESH,
   THOMAS SCULLY,
   MARILYN TAVENNER,
   SEAN TRAYNOR,
   RICHARD ZORETIC,
   WELSH, CARSON, ANDERSON & STOWE,
   APAX PARTNERS, L.P.,
   J.P. MORGAN SECURITIES LLC,
   BARCLAYS CAPITAL INC.,
   GOLDMAN SACHS & CO. LLC,
   CITIGROUP GLOBAL MARKETS INC.,
   ROBERT W. BAIRD & CO. INCORPORATED,
   WILLIAM BLAIR & COMPANY LLC,
   PIPER SANDLER & CO.,
   CAPITAL ONE SECURITIES, INC.,
   LOOP CAPITAL MARKETS LLC,
   SIEBERT WILLIAMS SHANK & CO. LLC,
   ROBERTS & RYAN INVESTMENTS, INC.

        Defendants.

   (Caption continues on following page)
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       LEAD PLAINTIFFS’ OMNIBUS MEMORANDUM IN OPPOSITION
              TO DEFENDANTS’ MOTIONS TO DISMISS THE
                 AMENDED CLASS ACTION COMPLAINT
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                       GLOSSARY OF TERMS AND ABBREVIATIONS 1
    Term                               Definition
    Apax                               Defendant Apax Partners
    Apax Director Defendants           Defendants Cavanna and Mahesh
    Apax Transaction                   The July 27, 2020, transaction between InnovAge, Apax Part-
                                       ners, and WCAS that precipitated the IPO.
    BBA                                Balanced Budget Act of 1997
    Census                             The capitated participants for whom a provider is financially re-
                                       sponsible for total healthcare costs.
    CAP                                Corrective Action Plan
    CAR                                Corrective Action Required
    CDPHE                              Colorado Department of Public Health & Environment
    Complaint                          Amended Class Action Complaint for Violation of the Federal
                                       Securities Laws, ECF No. 54
    CMO                                Chief Medical Officer
    CMP                                Civil Money Penalty
    CMS                                Center for Medicare & Medicaid Services
    DHCS                               Department of Health Care Services of the State of California
    DOJ                                U.S. Department of Justice
    Dual Eligible                      An individual entitled to both Medicare Part A or Part B and
                                       some form of Medicaid benefit
    EMR                                Electronic Medical Records
    HCPF                               Colorado Department of Health Care Policy & Financing
    FFS                                Fee-for-service


      1
         All other capitalized terms, unless otherwise defined, have the meaning ascribed to them in the
   Complaint. All citations to “¶__” refer to paragraphs in the Complaint; “Pls. Ex.” refers to exhibits
   to the Declaration of Jan E. Messerschmidt in Support of Lead Plaintiffs’ Omnibus Opposition to
   Defendants’ Motions to Dismiss Amended Class Action Complaint for Violations of the Federal Se-
   curities Laws (“Pls. Decl.”), filed concurrently with this brief; “Mot.” refers to Defendants’ Joint Mo-
   tion and Brief to Dismiss Amended Class Action Complaint for Violations of the Federal Securities
   Laws, ECF No. 73 (“Motion”); “Defs. Ex.” refers to exhibits to the Declaration of Diane L. McGim-
   sey in support of the Motion, ECF No. 75; “Underwriters’ Mot.” refers to Underwriter Defendants’
   Motion & Brief to Dismiss Amended Class Action Complaint for Violations off the Federal Securities
   Laws, ECF No. 75; and “Defs. Req. Judicial Notice” refers to Request for Judicial Notice in Support
   of Joint Motion to Dismiss Amended Class Action Complaint for Violations of the Federal Securities
   Laws, ECF No. 76; and “Response to Request for Judicial Notice” refers to Lead Plaintiffs’ Response
   to Defendants’ Request for Judicial Notice in Support of Joint Motion to Dismiss Amended Class
   Action Complaint for Violations of the Federal Securities Laws, filed concurrently herewith.


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    ICAR                       Immediate Corrective Action Required
    IDT                        Interdisciplinary Team
    NPA                        National PACE Association
    Officer Defendants         Defendants Maureen Hewitt and Barbara Gutierrez
    PAC                        Participant Advisory Committee
    PACE                       Programs of All-Inclusive Care for the Elderly
    PCP                        Primary Care Physician or Provider
    PMPM                       Per member, per month
    QAPI                       Quality Assessment and Performance Improvement Plan
    RCA                        Root Cause Analysis
    SAA                        State Administering Agency
    SDR                        Service Delivery Request
    WCAS                       Welsh, Carson, Anderson & Stowe
    WCAS Director Defendants   Defendants Dechert, Traynor, and Scully




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                                        INTRODUCTION
       InnovAge was one of the five worst performing IPOs in 2021. In March of that year, Defendants

   took InnovAge public, telling investors that the Company was a “proven success” with a “track record

   of profitable growth” and a “demonstrated” ability to “scale successfully” while “consistently deliver-

   ing high-quality care.” Only six months later, state and federal auditors revealed the truth: InnovAge

   was not a proven success, but a demonstrable failure, failing its frail, elderly participants so severely

   that many died under the Company’s care. So serious were these deficiencies that regulators imposed

   extreme sanctions, suspending enrollment at nearly all of InnovAge’s centers and paralyzing the Com-

   pany’s sole source of revenue—suspensions that remain in effect to this day. By December 2021, just

   nine months after the IPO, InnovAge’s stock price had plummeted by 78%.

       InnovAge is a healthcare company that provides services under the Program for All-Inclusive Care

   for the Elderly (“PACE”), offering all-inclusive, coordinated healthcare for frail, nursing-home eligible

   seniors in exchange for a fixed, monthly fee paid by Medicaid and Medicare. For decades, PACE

   programs had been operated by nonprofits that reinvested their slim margins to optimize delivery of

   care. But in 2016, InnovAge became the first for-profit PACE provider, supported by an investment

   from Defendant WCAS, a private equity firm who publicly declared its goal to take InnovAge public

   in as few as four years.

       Remarkably, InnovAge and WCAS met that aggressive target. From 2016 to 2020, InnovAge dis-

   played unparalleled growth, doubling its total number of participants and growing to twice the size of

   its closest competitor. In March 2021, Defendants took InnovAge public, hailing its meteoric growth

   as having “proven” the Company’s ability to execute their care model and “demonstrated” their ability

   to “scale successfully.” InnovAge’s business model thus created a “virtuous cycle,” Defendants

   claimed, evoking Jeff Bezos’ iconic business model for Amazon, ensuring consistent, repeatable, and



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   flywheel-like growth and positioning the Company to seize on an untapped $200 billion annual market,

   with little competition. The IPO was a success. Within days the Company reached a valuation of $3.5

   billion—17 times larger than WCAS’s investment just four years earlier.

       Unbeknownst to investors, though, InnovAge’s business model was driven by a relentless pursuit

   of enrollment growth at the expense of elder health and regulatory compliance. This growth over-

   whelmed the Company’s clinical staff with burgeoning caseloads and exacerbated staff departures,

   resulting in scheduling delays and unmet patient needs. At the same time, InnovAge’s byzantine elec-

   tronic medical records systems and inadequate training crippled the Company’s ability to provide co-

   ordinated 24-hour care by a team of physicians, nurses, pharmacists, social workers, and specialists.

   In the years before the IPO, government audits and internal reviews consistently identified systemic

   deficiencies in InnovAge’s care delivery that violated regulatory standards. Yet InnovAge continued

   to prioritize enrollment growth, going so far as to enroll homeless patients to keep its participant

   numbers increasing and to generate monthly payments for services that were unlikely to ever be pro-

   vided, while ignoring complaints from staff that InnovAge’s practices were improper, unsafe, and

   unethical.

       At the time of the IPO, InnovAge knew about the systemic care deficiencies. Indeed, in the

   months before the Company went public, dozens of doctors and nurses pleaded with the CEO, Chief

   Medical Officer, and other senior executives to slow enrollment and invest in the capacity, staff, and

   resources necessary to provide adequate and compliant care. But while InnovAge ignored the growing

   chorus of complaints from its staff, state and federal regulators began taking notice. Just days after the

   IPO, Colorado regulators notified InnovAge that it had received complaints of “dangerously low”

   numbers of clinical staff at some of the Company’s centers. Indeed, InnovAge itself notified partici-

   pants and staff that certain centers were so understaffed that participants lacked a primary care


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   physician, an essential and mandatory member of every PACE care team. One center’s problems were

   so severe that outside providers called the center “effectively nonoperational.”

       Spurred by these complaints, state and federal regulators launched rare, coordinated audits of In-

   novAge’s Sacramento and Colorado centers in May and June 2021, reviewing the Company’s treat-

   ment records over the previous year—both before and after the IPO. In response, InnovAge and its

   senior executives directed staff to obstruct the regulators by deleting records of service orders and

   referrals that were outstanding for more than six months. In September 2021, federal regulators pub-

   licly released the Sacramento audit findings. They found that InnovAge had “failed substantially” and

   was “substantially failing” to provide services in compliance with minimum standards and that these

   failures had, or were likely to, adversely affect participants’ health. So serious were the violations that

   regulators took the rare step of immediately suspending enrollment in Sacramento. Investors were

   shocked by the news and InnovAge’s stock price plummeted. To reassure investors, Defendants

   downplayed the significance of the Sacramento audit, telling investors that the deficiencies identified

   were not representative of the Company’s operations.

       But three months later, regulators released the results from their Colorado audits, identifying the

   same systemic deficiencies and suspending enrollment at all of InnovAge’s Colorado centers—the

   heart of the Company’s business and the source of more than half of the Company’s revenue. Inno-

   vAge’s stock price cratered, falling by 36% in a single day. Assailing the Company’s lack of “credibil-

   ity,” analysts told investors they had been hoodwinked by the Company’s reassurances about the au-

   dits. One week later, Defendant Hewitt—the Company’s only CEO who the Offering Documents

   had hailed as a “visionary”—resigned effective immediately, with InnovAge’s Chief Medical Officer

   departing soon after. In the following months, state and federal regulators’ audits in New Mexico and

   California uncovered the same systemic deficiencies, and regulators denied the Company’s


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   applications to open new centers in several other states.

       In May 2022, the Company’s new CEO, Patrick Blair, admitted that after assessing the Company’s

   operations, InnovAge needed a complete “transformation” before the Company could ever hope to

   support the lifting of sanctions, let alone begin enrolling new participants. In detailing the “transfor-

   mational actions” needed, Mr. Blair explained that the Company had failed to implement practices

   necessary to provide a consistent, scalable platform and coordinated, high-quality care—the very same

   practices that Defendants had told investors InnovAge had successfully executed for years.

       In seeking dismissal, Defendants claim that InnovAge and its executives are guilty of only “flawed

   business execution” and “mismanagement” that merely fell short of “perfection.” But no reasonable

   person could describe InnovAge’s failures as merely “imperfect.” Indeed, when investors learned the

   truth, InnovAge’s stock price cratered by more than 75%. Defendants also contend that most of the

   statements in the Offering Documents were “vague” or “generalized” characterizations that no rea-

   sonable investor would find important. But each of the statements described InnovAge’s specific

   practices for executing its entire—and only—business, which Defendants touted to investors as “crit-

   ical” to its financial performance. So, Defendants can hardly argue now that “no reasonable investor”

   would find these statements to be important.

       In the few instances when Defendants address the facts alleged, they ask the Court to simply

   ignore the facts, claiming that the allegations depend on “unreliable” sources. But the Complaint’s

   mountain of detailed facts, including reports from government audits, accounts from dozens of for-

   mer and current employees, and other documentary evidence all corroborate the same consistent and

   coherent story: InnovAge’s care model and growth strategy was a catastrophic failure. Thus, Defend-

   ants violated the securities laws by telling investors that InnovAge’s business model worked when they

   knew that it did not.


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                                            ARGUMENT
   I.       The Complaint Adequately Alleges the Offering Documents Contained Untrue
            Statements and Material Omissions
        The PSLRA requires plaintiffs “to plead falsity by specifying each allegedly misleading statement,

   the reason why the statement is misleading, and, if made on information and belief, all facts on which

   that belief is formed.” Peace Officers' Annuity and Benefit Fund of Georgia v. DaVita Inc., 372 F. Supp. 3d

   1139, 1149 (D. Colo. 2019) (Martinez, J.). 2 Courts must then evaluate whether “the facts alleged in a

   complaint, taken as a whole, support a reasonable belief that the defendant's statements identified by

   the plaintiff were false or misleading.” Oregon Laborers Employers Pension Tr. Fund v. Maxar Techs. Inc..,

   2020 WL 5500458, at *10 (D. Colo. Sept. 11, 2020) (Martinez, J.) (quotations omitted; alterations

   adopted).

        A. The Offering Documents misled investors about InnovAge’s care model, growth
           strategy, and regulatory compliance
        In the Offering Documents, Defendants touted InnovAge as having “proven our ability to execute

   our model” and “demonstrated an ability to scale successfully,” ¶¶170, 177, providing detailed de-

   scriptions of the Company’s specific practices for executing its care model and growth strategy, in-

   cluding twelve statements that the Complaint alleges were untrue statements and omitted material

   facts (“Offering Statements”). The Offering Statements fall under two general categories: (1) nine

   statements about InnovAge’s execution of its care model and compliance practices, ¶¶241(a)-(h),(l)

   (“Care Model Statements”), 3 and (2) three statements about the Company’s growth strategy, ¶¶241(i)-


        2
         The PSLRA’s pleading requirements apply only to claims brought under the Exchange Act. While
   Plaintiffs’ falsity allegations satisfy any pleading standard, their claims under Sections 11 and 12(a)(2)
   of the Securities Act are not subject to Rule 9(b)’s heightened pleading standard because they do not
   sound in negligence, not fraud, as explained further below. See infra at 47-49 & n.38.
       3
         The Care Model Statements are the Patient-Centered Care Statement, ¶241(a), Individualized
   and Coordinated Care Statement, ¶241(b), Standardized and Well-Staffed Operations Statement,
   ¶241(c), Robust Compliance Statement, ¶241(d), Successful Medical Risk Management Statement,



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   (k) (“Growth Strategy Statements”). 4

           1. The Care Model Statements were false because InnovAge’s care model “failed
              substantially” to provide adequate and compliant care
       In the Offering Documents, Defendants hailed InnovAge’s care model as a “proven” success,

   which enabled the Company to “deliver consistent, high-quality care to our participants at scale,”

   telling investors this “consistent performance highlights the predictability of our model.” ¶¶8, 10, 175,

   241(g). The Company’s care model, the “InnovAge Platform,” consisted of two “key” components:

   (1) interdisciplinary teams (or IDTs), which were the “core of our comprehensive clinical model” and

   “design, manage and coordinate all aspects of each participant’s customized care plan,” with each IDT

   convening “at minimum, experts across 11 disciplines, from the primary care physician to the social

   workers, who are collectively responsible for manage all aspects of our participant’s care,” ¶173, and

   (2) a “community-based care delivery model,” including the Company’s centers, home care services,

   and technology suite, which “deliver comprehensive care to our participants in the most appropriate

   and cost-effective setting.” ¶174. The Offering Documents supported this account with the seven

   Care Model Statements, which described InnovAge’s specific practices for executing its care model to

   provide care and comply with regulatory standards. But in truth, InnovAge had “failed substantially”

   and was “substantially failing” to execute those practices, which was revealed by (1) government au-

   dits, (2) accounts by former employees and investigative news articles, and (3) the Company’s own

   admissions.

       First, unbeknownst to investors, from 2016 to 2020, internal and external audits had consistently




   ¶241(e), COVID Continuity of Care Statement, ¶241(f), Technology Statement, ¶241(g), Home Care
   Statement, ¶241(h), and Government Relationships Statement, ¶241(l).
       4
         The Growth Strategy Statements are the Expansion Model Statement, ¶241(i), Scalability State-
   ment, ¶241(j), and Virtuous Cycle Statement, ¶241(k).


                                                      6
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   identified systemic deficiencies and noncompliance in InnovAge’s’ execution of its care model. ¶¶143-

   67. By the time of the IPO, in March 2021, these deficiencies had only worsened, with Colorado

   regulators notifying InnovAge just days after the offering that it had received complaints about Inno-

   vAge’s Thornton, Colorado center, including that clinical staff numbers were “dangerously low” and

   were “not sufficient to meet the medical needs of the participants”; that InnovAge’s leadership “re-

   ceived concerns from staff about caseload size” and “schedules” but that “the issue was not resolved”;

   that the Company failed to coordinate “follow up care” after “discharge from the hospital,” that clin-

   ical staff did not actively “check on participants” who lived in residential care settings; and that these

   deficiencies had resulted in “acute medical issues” that should have been “preventable.” ¶¶180-81.

   Complaints triggered rare, coordinated audits of InnovAge’s Sacramento and Colorado centers by

   state and federal regulators, which began in May and June 2021, and which reviewed records related

   to care delivery and compliance from mid-2020 to mid-2021 (“2020-21 Audits”). ¶¶200-01, 225. In

   September and December 2021, regulators released the results of the 2020-21 Audits, which con-

   cluded that at the time of the IPO, InnovAge’s Sacramento and Colorado centers had “failed substan-

   tially” and were “substantially failing” to provide adequate and compliant care, which “adversely af-

   fected” or “had the substantial likelihood of affecting” the health of is participants. ¶¶11, 210, 224-26.

   The “seriousness of these deficiencies,” regulators concluded, “require[d] the suspension of any new

   enrollments” at InnovAge’s Sacramento and Colorado centers. ¶¶210, 224. In imposing that severe

   sanction, the 2020-21 Audits identified systemic deficiencies, present in almost every aspect of the

   Company’s care delivery practices, ¶¶210, 224-26, 241(a), 225, which directly contradicted the Offer-

   ing Documents that had touted InnovAge’s execution as a proven success:




                                                       7
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                                                                            Systemic deficiencies
          Offering Document Statements                                   identified in 2020-21 Audits
    “Our patient-centered care delivery approach InnovAge failed “to provide all…covered
    meaningfully improves the quality of care our services…necessary…to improve and maintain
    participants receive…” ¶241(a)                participants’ overall health status.” ¶242(a).
    “Our IDTs develop an individualized care plan InnovAge failed “to implement, coordinate, and
    specific to the needs of each participant…    continuously monitor the plan of care.” ¶242(b).
    …Our high touch model involves daily interaction InnovAge failed “to furnish care that met the needs
    with our participants across multiple settings... of each participant in all care settings 24 hours a day.”
                                                      ¶242(b)
    …This enables us to not only deliver                    InnovAge failed “to ensure the interdisciplinary
    coordinated, high quality care, but also to identify    team coordinated 24-hour care delivery” and “to remain
    and proactively manage changes to each participant’s    alert to pertinent input concerning each participant.”
    conditions...” ¶241(b)                                  ¶242(b).
    “Because of our scale, we have been able to invest InnovAge “failed to ensure proper staffing levels” and this
    in dedicated, well-staffed teams…” ¶241(c)         failure affected 100% of the participants reviewed. ¶242(c).
    “We have a long track record of successfully            InnovAge “failed to manage their participants’ medical
    managing medical risk…” ¶241(e)                         situations and oversee their participants’ use of medical
                                                            specialists.” ¶242(b).
    “Our technology suite supports our ability to deliver InnovAge “failed to document the plan of care… in the
    consistent, high-quality care to our participants at participant’s medical records” and “maintain a medical
    scale.” ¶241(g)                                       record that was complete, accurate, and available to all staff.”

       Second, the findings of the 2020-21 Audits are corroborated by accounts from six former employ-

   ees (“FEs”) and 12 investigative news articles from The Capitol Forum, which both confirmed and

   elaborated on the severity, extent, and consequences of the deficiencies, including severe staff short-

   ages, high caseloads, delayed care, and organizational dysfunction, ¶¶129-32, 138, 141, 147, 163-65,

   166-67, 183-86, an inability of IDTs to coordinate care and develop individualized care plans for in-

   creasingly large caseloads, ¶¶133, 182, inadequate in-home care services and insufficient investment

   during the pandemic to ensure constant and coordinated care of a larger home-bound population,

   ¶¶136, 138-40, insufficient training for using electronic medical records, ¶¶164, 166, and that these

   deficiencies had resulted in substantial lapses in services, failures to diagnose life-threatening illnesses,


                                                              8
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   and even premature deaths, ¶134, 138, 183-85 187-9.

       Third, InnovAge’s senior executives admitted in internal communications and later publicly that

   the Company had failed to execute its care model in compliance with minimum regulatory standards.

   In March 2021, InnovAge notified staff and participants at its Thornton, Colorado center that its

   understaffing problems were so severe that many participants lacked a primary care provider, an es-

   sential and mandatory requirement. ¶88. Six months later, in September 2021, InnovAge’s manage-

   ment notified its staff that the 2020-21 Audits showed deficiencies in its Sacramento and Colorado

   centers that required significant remediation efforts including, among other things, “ensuring IDT

   coordination of care delivery,” “development and reevaluation of care plans in a timely manner,” and

   “providing services that are accessible and adequate to meet the needs of participants.” ¶208. And in

   a May 2022 earnings conference call, Defendant Gutierrez and Patrick Blair, who replaced Hewitt as

   CEO in January 2022, explained that the “root causes” of the deficiencies identified in the 2020-21

   Audits included InnovAge’s failures to “ensur[e] that our care plans are complete and kept timely,” to

   “standardiz[e] the process of our interdisciplinary care teams,” to “coordinat[e] care with providers

   outside the centers,” to “fill[] critical personnel gaps at each of the centers,” to “ensur[e] our medical

   records are documented with all the required data elements,” and to sufficiently strengthen its “home

   care network and reliability.” ¶¶238-39,242(a)-(c),(e),(g)-(h). These admissions directly contradicted

   the portrayal of InnovAge’s execution of those same practices in the Offering Documents.

       Once Defendants chose to tout InnovAge’s execution of its care model in the Offering Docu-

   ments, they undertook an “obligation to speak truthfully” and to provide “complete and non-misleading

   information.” Maxar, 2020 WL 5500458, at *10 (Martinez, J.); United States v. Gordon, 710 F.3d 1124,

   1142 (10th Cir. 2013). Defendants thus had to disclose that the Company was consistently failing to

   execute its care model in compliance with regulatory standards. Singer v. Reali, 883 F.3d 425, 440 (4th


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   Cir. 2018) (stating that once a company chose to “inform the market that it was” conducting certain

   business activities, its statements would be “utterly misleading” unless it disclosed problems in those

   activities). In seeking dismissal, Defendants ignore these adverse facts and argue that their statements

   touting InnovAge’s care model in the Offering Documents were not false or misleading for three

   reasons, none of which have merit. 5

       First, Defendants claim that even though InnovAge had consistently failed to execute its care

   model, they did not mislead investors by touting that model as a “proven” success because they did

   not “promise perfect compliance” or that the Company “would perfectly execute all of its business

   practices.” Mot. 15-16. But no reasonable investor would describe InnovAge’s failures as merely falling

   short of “perfection.” To the contrary, the Complaint alleges that InnovAge had “failed substantially”

   and was “substantially failing” to deliver adequate and minimally compliant care, which compromised

   the Company’s sole source of revenue and paralyzed its ability to expand. Defendants cannot avoid

   liability by recasting a complete and substantial failure of InnovAge’s entire business model as a mere

   lack of “perfection.”

       Nor can Defendants avoid liability by relying on the absence of “promises” or “guarantees.” Mot.

   10, 12-13, 15. Courts recognize that a company must speak both truthfully and forthrightly about its

   business and compliance practices. For example, in the widely cited decision in Meyer v. Jinkosolar Hold-

   ings, the Second Circuit addressed facts nearly identical to those here, holding that a company misleads

   investors if it makes statements that portray its business practices as “reasonably effective” when those

   practices are actually “failing to prevent substantial violations” of regulatory requirements. 761 F.3d


       5
        Defendants do not dispute, and thus concede, that the Complaint adequately alleges that the
   Robust Compliance Statement, ¶241(d), and Government Relationships Statement, ¶241(l), were false
   and misleading. And as explained below, Defendants’ argument that those statements are puffery is
   meritless. See infra at 20-23.


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   245, 251 (2d Cir. 2014). In Jinkosolar, the company’s statements discussed its efforts to comply with

   Chinese environmental regulations, describing its “pollution-preventing equipment and 24–hour mon-

   itoring teams.” Id. at 251-52. The Second Circuit held that those statements were adequately alleged

   to be false because “present and substantial” problems existed at the time the statements were made.

   Id. It did not matter that the statements “did not guarantee 100% compliance 100% of the time,” the

   Second Circuit explained, because investors would be misled by the company’s statements about its

   environmental practices if those practices were “then failing to prevent substantial” regulatory viola-

   tions. Id. at 251.

       Jinkosolar charts the correct course here. As in Jinkosolar, the Offering Documents touted Inno-

   vAge’s execution of its care model by detailing the Company’s practices for providing care. For in-

   stance, the Offering Documents described the Company’s interdisciplinary teams that developed in-

   dividualized care plans for each participant and coordinated 24-hour care. ¶241(b). But as the 2020-

   21 Audits found that at the time of the IPO, InnovAge had “failed substantially” to, among other

   failures, “ensure the interdisciplinary team coordinated 24-hour care delivery. ¶242(b). Thus, the Of-

   fering Statements misleadingly gave “comfort to investors” that InnovAge’s practices for executing

   its care model were, at the very least, “reasonably effective” when they were “then failing” to meet

   minimum regulatory standards. Jinkosolar, 761 F.3d at 251-52; see also Karimi v. Deutsche Bank Aktieng-

   esellschaft, 2022 WL 2114628, at *7 (S.D.N.Y. June 13, 2022) (Rakoff, J.) (holding that statements de-

   scribing regulatory compliance were actionable where company processes were “routinely failing to

   prevent substantial violations”).

        Defendants argue their statements are “general,” seeking to rely on cases finding generic compli-

   ance statements to be nonactionable. But those cases only underscore why the Offering Statements

   were false and misleading. For instance, Singh v. Cigna Corporation held that statements that Cigna had


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   “established policies and procedures” for regulatory compliance were not actionable because they

   were “simple and generic assertions” that did not convey confidence in the “effectiveness” of the

   company’s practices. 918 F.3d 57 (2d Cir. 2019). The court there distinguished Cigna’s generic com-

   pliance statements from those in Jinkosolar, which detailed “24-hour monitoring teams” and “specific

   compliance equipment.” Id. Unlike the “simple and generic assertions” in Singh, the Offering State-

   ments, like those in Jinkosolar, described in detail InnovAge’s care practices and 24-hour care coordi-

   nation. 6 See Karimi, 2022 WL 2114628, at *9 (rejecting a similar argument and holding that the com-

   plaint adequately alleged that statements about bank’s know-your-client processes and compliance

   were false).

       Second, Defendants argue that Mr. Blair’s May 2022 admissions do not show that the Offering

   Statements were false or misleading because he merely described “new” initiatives to “strengthen” or

   “improve” practices that were already adequate. Mot. 15. 7 But Mr. Blair’s remarks about the Com-

   pany’s deficient practices made clear that InnovAge failed to execute the specific practices that the


       6
          Defendants’ other cited cases are likewise inapposite because they concerned generic compliance
   statements without allegations of ongoing compliance violations. Jiajia Luo v. Sogou, 465 F. Supp. 3d
   393, 411 (S.D.N.Y. 2020) (“anodyne and conventional compliance” statements were “inadequate to
   satisfy Jinkosolar in the absence of” allegations of a pre-IPO compliance failure); Ong v. Chipotle Mexican
   Grill, 294 F. Supp. 3d 199, 232 (S.D.N.Y. 2018) (no allegations that Chipotle failed to undertake food
   safety and quality programming); Nardy v. Chipotle Mexican Grill, 2019 WL 3297467, at *11 (D. Colo.
   Mar. 29, 2019) (Daniel, J.) (no allegations of noncompliance with regulations or standards that
   Chipotle); In re Crocs, Inc. Securities Litigation, 774 F. Supp. 2d 1122, 1143 (D. Colo. 2011) (Brimmer, J.)
   (no allegations that Crocs was not taking the stated steps to meet demand); Noble Asset Management v.
   Allos Therapeutics, 2005 WL 4161977, at *12 (D. Colo. Oct. 20, 2005) (Matsch, J.) (company fully dis-
   closed clinical trial results and warned of regulatory uncertainty).
        7
          Defendants emphasize Mr. Blair’s statement that InnovAge “possesses a sturdy foundation,” but
   in the rest of that portion of his remarks, Mr. Blair explained that while in a previous earnings call he
   “communicated” his belief that InnovAge had a “sturdy foundation” and “potential,” after “more time
   in the business,” it was “also clear that to enable a consistent, scalable platform, our capabilities…require
   enhancements and need to evolve.” Defs. Ex. 9 at 6; ¶¶236, 267-68. Mr. Blair’s remarks thus confirm
   that InnovAge had not developed a “consistent, scalable platform” by the time of the IPO. ¶¶170, 177,
   271.


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   Offering Documents touted as a “proven” success. 8 See supra at 8-9. 9

       Third, Defendants argue that the Care Model Statements are not actionable because the Offering

   Documents included cautionary disclosures about previous compliance violations, staff shortages in

   the healthcare industry, and the risk that future audits would uncover regulatory violations. Mot. 15-

   16, 18. But cautionary disclosures about future risks can protect only “forward-looking” statements,

   not statements about existing facts. All the challenged statements were about historical or current facts

   and so the bespeaks-caution doctrine has no application. See SEC v. GenAudio Inc., 32 F.4th 902, 929

   (10th Cir. 2022) (explaining that the “bespeaks-caution” doctrine applies only to forward-looking

   statements). InnovAge’s cautionary disclosures that InnovAge might face staff shortages or compliance

   problems in the future thus do not cure the misrepresentations that purported “to describe current

   practices, and so are not forward-looking statements.” Karimi, 2022 WL 2114628, at *10.

       Nor are the cautionary disclosures “sufficiently specific” to “nullify any potentially misleading ef-

   fect.” SEC v. Mahabub, 343 F. Supp. 3d 1022, 1045 (D. Colo. 2018) (Martinez, J.) (citation omitted).

   Vague disclaimers that a “lack of availability of clinical personnel” affecting “all health care providers”

   or that InnovAge “might fail to implement its policies” cannot sufficiently cure the misinformation

   conveyed by descriptions of policies and procedures that InnovAge was then failing to execute in



       8
         Nor would such “interpretive arguments,” even if reasonable, be proper grounds “to support a
   motion to dismiss.” In re Myriad Genetics, Inc., 2021 WL 977770, at *9 (D. Utah Mar. 16, 2021) (refusing
   to apply the defendant’s “interpretation of the statements to grant a motion to dismiss”).
       9
         Defendants also argue that whether “InnovAge perfectly documented its medical records” is
   “completely unrelated” to the statement that InnovAge’s “technology suite supports our ability to
   deliver consistent, high-quality care…at scale.” Mot. 18-19. Not so. Defendants repeatedly told inves-
   tors in the Offering Documents that InnovAge’s technology systems were essential to provide coor-
   dinated, high-quality care to its participants. See Defs. Ex. 2 at 8, 10, 13. Indeed, Mr. Blair admitted
   that InnovAge’s failure to “ensur[e] [that] our medical records are documented” was one of the “root
   causes” of the audit deficiencies. Defs. Ex. 9 at 26.



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   compliance with regulatory standards. Karimi, 2022 WL 2114628, at *10; Jinkosolar, 761 F.3d at 251

   (noting that disclosing a business’s peculiar risk of fire and the installation of a comprehensive sprin-

   kler system while omitting that the system has been found to be inoperable misleads investors).

           2. The Growth Strategy Statements were false and misleading because InnovAge
              was never capable of scalable growth
       In the Offering Documents, Defendants also repeatedly touted InnovAge’s “track record of prof-

   itable growth” and “demonstrated…ability to scale successfully.” ¶¶170, 177. Multiple sources make

   clear that the three Growth Statements were false and misleading and confirmed that InnovAge never

   developed a scalable business model, its growth strategy was driven by management’s prioritization of

   rapid enrollment growth at the expense of providing effective care to its participants, and uncontrolled

   and unsustainable growth had compromised its ability to provide adequate and compliant care.

       For example, former and current InnovAge employees and articles published by The Capitol Forum

   confirm that InnovAge’s growth strategy was driven by management’s prioritization of rapid enroll-

   ment without regard to the Company’s capacity to accommodate its growing population, ¶¶116-17;

   InnovAge engaged in improper, unsafe, and unethical enrollment practices, such as recruitment of

   homeless participants, ¶¶120-27; rapid enrollment growth overwhelmed clinical staff and resulted in

   severe staff shortages, high turnover, delayed and uncoordinated care, and adverse health conse-

   quences for its participants, ¶¶129-38, 162-63, 184-89; InnovAge’s senior management continued to

   prioritize rapid enrollment despite consistent and widespread complaints from clinical staff about the

   lack of staff, processes, and resources necessary to accommodate the growing population, ¶¶139-41,

   and the resulting staff shortages, insufficient resources and organizational dysfunction had rendered

   multiple of InnovAge’s centers “effectively non-operational,” ¶205.

       Further, in May 2022, Mr. Blair and Defendant Gutierrez admitted that InnovAge had never




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   developed a “consistent, scalable platform,” explaining that the Company needed a complete “trans-

   formation” before it would ever experience scalable growth, directly contradicting the Offering State-

   ments:

            March 2021 Offering Statement                        May 2022 InnovAge Admission
    “The fundamental aspects of our expansion InnovAge failed to “fill[] critical personnel gaps at each
    playbook include…a concerted effort to recruit and of the centers.” ¶239.
    develop talent...”
    “…scalable underlying clinical technology…”         InnovAge failed to “ensur[e] our medical records are
                                                        documented with all the required data elements.” ¶239
    “…and an efficient, uniform operating model.” ¶241(i) InnovAge failed to “standardiz[e] the process of our
                                                          interdisciplinary care teams.” ¶239
    “We have demonstrated an ability to scale           InnovAge failed to ensure the “operational
    successfully…” ¶241(j) 10                           execution” necessary for “scalable, sustainable
                                                        long-term growth.” ¶242(i)

       As with their statements boasting about InnovAge’s care model, once Defendants chose to tout

   InnovAge’s growth strategy as a “demonstrated” success, they needed to disclose adverse information

   undermining that portrayal. Gelt Trading, Ltd. v. Co-Diagnostics, Inc., 2022 WL 716653, at *6 (D. Utah

   Mar. 9, 2022) (“[A] statement that contains only favorable matters and omits all reference to unfavor-

   able matters is as much a false representation as if all the facts stated were untrue”). Defendants,

   though, argue that two of the three Growth Statements are not false or misleading for two reasons,

   neither of which has merit.

       First, Defendants argue the statement that InnovAge had “demonstrated an ability to scale suc-

   cessfully” was “an accurate statement of historical fact,” because the Offering Documents accurately

   reported InnovAge’s enrollment and revenue growth from 2016 to 2020. Mot. 19. But the term


       10
          Defendants do not dispute, and thus concede, that the Complaint adequately alleges that the
   Virtuous Cycle Statement was false and misleading. As explained below, Defendants’ arguments that
   the statement is otherwise nonactionable all fail. See infra at 22 & n.16.


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   “scalability” means the capacity to accommodate growth. See Cutler v. Kirchner, 696 Fed. Appx. 809, 814–

   15 (9th Cir. 2017) (explaining that the term “ready to scale” implied “that the system is prepared to

   handle a greater volume of transactions than it is currently dealing with”). Investors understood the

   statement that InnovAge “demonstrated an ability to scale successfully” to mean not only that Inno-

   vAge’s enrollment had grown, but also that the Company could accommodate that growth without

   compromising its ability to deliver care and incurring significant costs. Indeed, that is precisely how

   analysts understood the Offering Documents. See ¶271 (analyst described InnovAge’s “rapid growth”

   as “already profitable” with a “proven” and “repeatable, scalable model”). But in truth, InnovAge had

   not developed a “consistent, scalable platform” and rapid enrollment growth had crippled its ability

   to provide adequate and compliant care. ¶¶129-32, 133-36, 138-40, 141, 147, 163-66, 166-67, 182-89.

       Second, Defendants argue that InnovAge “expressly warned of its growth strategy risks” and so

   their statements are not actionable. Mot. 19-20. This argument fails for the same reasons as Defend-

   ants’ other arguments relying on “cautionary disclosures.” See supra at 13. As Defendants concede

   (Mot. 19), the Scalability Statement purported to be a “statement of historical fact” and thus was not

   a forward-looking statement that cautionary disclosures can cure. GenAudio Inc., 32 F.4th at 929. Nor

   do vague disclaimers that InnovAge’s growth strategy “may not prove viable” negate in “a detailed

   and specific manner” the omitted information that rendered the statement misleading: InnovAge’s

   growth strategy had proven to be unviable and had compromised its ability to provide adequate and

   compliant care. See, e.g., ¶¶129-38, 162-63, 184-89.

           3. The Complaint adequately alleges facts attributed to InnovAge employees and
              investigative news articles
       Defendants argue that the Court should refuse to credit every allegation attributed to six former

   InnovAge employees (“FEs”) or articles published by The Capitol Forum, because “the sources are not




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   sufficiently reliable.” Mot. 21. But this argument flouts Tenth Circuit precedent and mischaracterizes

   the allegations. In Adams v. Kinder-Morgan, the Tenth Circuit rejected a “per se rule” that plaintiffs must

   identify the source for every allegation in a complaint, explaining that the PSLRA does not require

   plaintiffs to allege “the name of the employee who provided plaintiffs with facts” or “the internal title

   of the internal report relied upon by the plaintiffs.” 340 F.3d 1083 (10th Cir. 2003). Instead, plaintiffs

   need only allege facts that are detailed enough “to support a reasonable belief that the defendant’s

   statements identified were false or misleading.” Id. In deciding whether a plaintiff meets this standard,

   the Tenth Circuit instructed that courts must apply a “common-sense, case-by-case approach” not

   “per se” rules, evaluating the “facts alleged as a whole.” Id.

       The Complaint alleges more than enough facts to meet this standard. In more than one hundred

   detailed paragraphs, the Complaint alleges consistent facts, based on undisputed reports by regulators,

   ¶¶150-52, 156-61, 210, 224-27, admissions by senior executives, ¶¶235-39, first-hand accounts from

   more than two dozen former and current InnovAge employees witnesses, ¶¶66-71, 116, 119, 121-22,

   131, 144, 147, 153-54, 163-67, 183, 193, 221, internal emails and other written correspondence, ¶¶159,

   180, 182, recordings of internal phone calls, ¶¶208-09, and a dozen investigative news articles pub-

   lished by The Capitol Forum, who conducted its own extensive independent investigation, ¶¶117-18,

   120, 124-25, 127, 129-31, 133, 134, 136, 138-41, 184-89, 191-92, 201-09, 221. Each of these sources

   corroborated the same consistent and coherent story: InnovAge’s care model and growth strategy was

   not a “proven” success, but a demonstrable failure, which had “failed substantially” to provide ade-

   quate and compliant care—and, ultimately, paralyzed the Company’s only source of revenue. ¶¶66-

   71. Meitav Dash Provident Funds and Pension Ltd. v. Spirit AeroSystems Holdings, Inc., 2022 WL 377415, at

   *8–9 (N.D. Okla. Jan. 7, 2022) (crediting allegations attributed to former employees because “they

   were positioned to know the information provided, and despite defendants’ arguments, they form a


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   plausible and coherent narrative”). Defendants do not even try to argue that any allegation is incon-

   sistent, implausible, or even doubtful. Instead, Defendants insist that the Court should ignore allega-

   tions attributed to the FEs and The Capitol Forum for other reasons, none of which have merit.

       First, Defendants argue that the six FEs are not reliable because some were “not employed during

   the Class Period” and were “low-level employees” or “locally sited to either California or Colorado.”

   That is absurd. The Class Period begins on the day of the offering when the Offering Documents

   were filed. Thus, to establish the falsity of the Offering Documents, Plaintiffs must rely, at least in

   part, on events preceding the Class Period. In re Tufin Software Techs. Ltd. Securities Litig., 2022 WL

   596861, at *7–8 (S.D.N.Y. Feb. 25, 2022) (crediting confidential witness who left the company before

   the IPO). 11 Further, most of the FEs served in senior management positions, responsible for oversee-

   ing all operations in a center, state, or region, including an Area Medical Director for Colorado (FE-

   2), Regional Executive Director for California (FE-3), a Center Director (FE-4), and Regional Vice

   President of Human Resources for the East Coast (FE-5). ¶¶67-70. Tufin Software, 2022 WL 596861,

   at *7–8 (S.D.N.Y. Feb. 25, 2022) (rejecting argument that confidential witnesses were “low-level em-

   ployees” who could not “speak for [the company] as a whole”). And every FE allegation reflects events

   and circumstances the employees personally witnessed, including systemic and pervasive deficiencies

   in California and Colorado, which represented the vast majority of InnovAge’s operations. ¶¶153-54

   (FE-1); ¶¶119, 121-22, 164-67, 193 (FE-2); ¶¶144, 147 (FE-3); ¶¶119, 163, 165 (FE-4); ¶116 (FE-5);


       11
          Defendants’ only cited case does not suggest otherwise, holding that allegations about a com-
   pany’s overcharge scheme which took place exclusively during the class period could not be supported
   by witnesses who were employed at the company years earlier. Lewis v. YRC Worldwide, 2020 WL
   1493915, at *7 (N.D.N.Y. Mar. 27, 2020). Unlike Lewis, the falsity of the Offering Documents turns,
   in part, on the existence of ongoing and substantial violations at the time of the IPO. Cf. In re Micro
   Focus Int'l Plc Sec. Litig., 2020 WL 5817275, at *8 (S.D.N.Y. Sept. 29, 2020) (declining to rely on allega-
   tions by a defendant’s “former employees” where those allegations did not sufficiently establish that
   certain risks had materialized prior to the effective dates of the defendant’s offering documents).


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   ¶¶119, 121-22, 183 (FE-6). 12 Correa v. Liberty Oilfield Services, 548 F. Supp. 3d 1069, 1082 (D. Colo.

   2021) (Brooke Jackson, J.) (holding that statements by former employees based in Texas supported

   reasonable inferences about company-wide trends, particularly given that “Texas was one of the largest

   fleet bases for the company”).

       Second, Defendants argue that The Capitol Forum articles are unreliable because they “contain noth-

   ing more than generalized undetailed hearsay from anonymous sources.” Mot. 22-23. 13 But that is

   false. Each allegation attributed to The Capitol Forum includes significant detail identifying the basis for

   the witness’s knowledge of the facts alleged, which are corroborated by other (often multiple) witness

   accounts, as well as documentary evidence, including internal emails and correspondence, ¶¶159, 180,

   182, recordings of internal phone calls, ¶¶208-09, and statements by regulators, government spokes-

   persons, and the ombudsman responsible for overseeing InnovAge’s Colorado centers, ¶¶131, 221. In

   re Equifax Inc. Securities Litig., 357 F. Supp. 3d 1189, 1235–36 (N.D. Ga. 2019) (refusing to discount

   allegations based on articles citing anonymous source because “[n]ews articles, which frequently rely

   upon unnamed sources, constitute reliable bases for allegations”).




       12
          Defendants also claim that the Complaint does not adequately allege FE-5’s and FE-6’s “re-
   sponsibilities “ or the “information to which they had access.” Mot. 22. That is wrong. The Complaint
   alleges FE-5’s title, dates of employment, and reporting supervisor, and that FE-5 participated in pe-
   riodic calls with Defendant Hewitt. ¶70. Likewise, the Complaint alleges FE-6’s title and dates of
   employment, and receipt of monthly emails about new enrollments. ¶¶71, 122.
       13
          The only support that Defendants offer for this argument is that in five of the Complaint’s
   thirty-three paragraphs referencing statements quoted by The Capitol Forum, the sources are described
   as a “former enrollment employee” or “former employees in human resources.” Mot. 22-23. Identi-
   fying witnesses by their responsibilities does not render their statements “generalized undetailed hear-
   say” and is enough to show each witness’s basis for knowing the facts alleged—the PSLRA requires
   nothing more. In re Rhythms Securities Litig., 300 F. Supp. 2d 1081, 1089 (D. Colo. 2004) (Kane, J.)
   (holding that information attributed to sources described as an “employee who worked in the Opera-
   tions Reporting Group” and a “technical support representative” were “sufficiently specific”) (citing
   Adams, 340 F.3d at 1102).


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           4. Defendants remaining arguments opposing falsity are unavailing
               a. The challenged statements are concrete and specific descriptions of existing
                  facts, not vague or generalized puffery
       None of the Offering Statements were expressions of “corporate optimism” or “puffery”—that

   is, “loosely optimistic statements that are so vague, so lacking in specificity” that “no reasonable in-

   vestor could find them important.” Indiana Pub. Ret. System v. Pluralsight, Inc., 45 F.4th 1236, 1249 (10th

   Cir. 2022). To the contrary, the Offering Statements were concrete and specific statements detailing

   InnovAge’s care delivery, compliance, and growth practices. Karimi, 2022 WL 2114628, at *6 (holding

   that statements were actionable “because they provide descriptions of the processes” used by the

   company to comply with regulatory obligations). “Each of these statements could have, and should

   have had, some basis in objective and verifiable fact.” In re Level 3 Commun., Inc. Securities Litig., 667

   F.3d 1331, 1340 (10th Cir. 2012) (quotation omitted; alteration adopted). For instance, the Offering

   Documents touted the Company’s care delivery practices required by PACE regulations, such as con-

   vening interdisciplinary teams, developing care plans, and coordinating 24-hour care. ¶241(b).

   Whether InnovAge executed those practices in compliance with regulatory standards is objectively

   verifiable—indeed, regulators concluded in the 2020-21 Audits that the Company’s practices “failed

   substantially” to comply with minimum standards. Pluralsight, 45 F.4th at 1249 (statements are action-

   able if grounded “concrete metrics” or “other objectively verifiable data”); Karimi, 2022 WL 2114628,

   at *7 (holding compliance practice statements were actionable because company was “routinely failing

   to prevent substantial violations”).

       Defendants try to recast the Offering Statements as vague or generalized puffery by plucking out-

   of-context phrases from eight statements, claiming that their cherry-picked phrases are “similar” to

   statements that the Second Circuit found to be puffery in ECA, Loc. 134 IBEW Joint Pension Tr. of




                                                       20
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   Chicago v. JP Morgan Chase Co., 553 F.3d 187 (2d Cir. 2009). 14 But Defendants cannot obtain dismissal

   by merely “taking a few of Plaintiffs’ allegations out of context and labeling them as puffery.” In re Bofi

   Holding, Inc. Securities Litig., 2016 WL 5390533, at *9 (S.D. Cal. Sept. 27, 2016). Rather, in deciding the

   materiality of a statement, the Court must consider “the full context in which the statements are pre-

   sented in the complaint.” Pluralsight, 45 F.4th at 1251 n.3. None of the Offering Statements, considered

   in context, are remotely “similar” to the statements in JP Morgan, which involved abstract notions of

   ethics, responsibility, or integrity, such as that the company “set the standard for integrity.” Id. at 206.

   In contrast, the Offering Statements described specific practices and are “juxtaposed against detailed

   factual descriptions of the Company's woefully inadequate or non-existent…procedures.” Freudenberg

   v. E*TRADE Fin. Corp., 712 F. Supp. 2d 171, 189–90 (S.D.N.Y. 2010) (distinguishing JP Morgan and

   concluding that statements describing the company’s risk management, discipline, monitoring, and

   credit quality were not “puffery”). 15

       Defendants’ remaining arguments are no less convincing, contending that three of the Offering

   Statements “strongly echo precise phrases courts have found nonactionable.” Mot. 13. But aside from

   containing certain words, like “technology” or “growth,” none of the statements at issue in Defend-

   ants’ cited cases remotely resemble those at issue. For example, in support of their argument that the



       14
          Defendants’ cherry-picking exercise excludes not only key context, but also entire sentences that
   the Complaint alleges were false. For example, Defendants quote the phrase “deliver[]s coordinated,
   high quality care,” but exclude the sentence, “Our IDTs develop an individualized care plan specific
   to the needs of each participant.” ¶241(b). Similarly, Defendants quote the phrase “capabilities [that]
   enable our participants to live safely in their homes,” but exclude the sentence “We directly deliver or
   manage all skilled and unskilled care a participant may require to live independently at home.” ¶241(h).
       15
          Defendants cite Andropolis v. Red Robin Gourmet Burgers, but in that case, the court concluded that
   adoption of code of ethics was not actionable because “a code of ethics is inherently aspirational.”
   505 F. Supp. 2d 662, 686 (D. Colo. 2007). And here, none of the Offering Statements are “explicitly
   aspirational, with qualifiers such as ‘aims to,’ ‘wants to,’ and ‘should.’” City of Pontiac Policemen's &
   Firemen's Ret. Sys. v. UBS AG, 752 F.3d 173, 183 (2d Cir. 2014).


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   Technology Statement is puffery, Defendants cite Gregory v. ProNAi Therapeutics Inc., but the statement

   at issue in that case merely listed the word “technology” in a series of other generic terms, like

   “knowledge” and “experience.” 297 F. Supp. 3d 372, 399 (S.D.N.Y. 2018). Here, the Technology

   Statement conveyed that InnovAge’s “technology suite” supported its “ability to deliver consistent,

   high-quality care to our participants at scale” because it enabled care providers to track patients’ med-

   ical history and follow up care, when in fact, records management was an admitted disaster for the

   Company. ¶¶9, 144-45, 208, 239. See Okemos Home, LLC v. LGF Produce, LLC, 2019 WL 12248966, at

   *5 (D. Colo. Mar. 27, 2019) (Krieger, J.) (holding that statement that company’s greenhouse was “using

   the latest technology” was actionable because it conveyed that the greenhouse “was capable of accom-

   modating” certain methods for growing leafy greens, when, in fact, “the greenhouse was not suitable

   for growing leafy greens at all”). Similarly, Defendants claim that the Virtuous Cycle Statement is not

   actionable because it “relates to forward-looking unquantified growth” driven by “vague, potential

   improvements.” Mot. 14. But unlike Defendants’ cited cases, which concerned explicitly forward-

   looking and aspirational statements about a “plan to grow” or “expected growth,” the Virtuous Cycle

   Statement is phrased in the past and present tense—with language like “we have demonstrated “and “we

   have created”—purporting to describe InnovAge’s successful creation and demonstrated execution of a

   repeatable, scalable business model. Karimi, 2022 WL 2114628, at *10 (holding that a statement that

   purported to describe the company’s “current practices” was not a “forward-looking statement”). 16


       16
         In a cursory footnote, Defendants also claim that the Virtuous Cycle Statement is not actionable
   because it is a forward-looking statement “accompanied by cautionary statements” about “future fi-
   nancial and business results.” Mot. 14 n.12. But as noted above, the Virtuous Cycle Statement is not
   forward-looking and thus is not protected by cautionary disclosures. GenAudio, 32 F.4th at 929. And
   even if parts of the statement could be construed as forward-looking, that still would not cure the
   non-forward-looking portions of the statement. In re Quality Sys., Inc. Sec. Litig., 865 F.3d 1130, 1142
   (9th Cir. 2017) (explaining that in “mixed statements...the non-forward-looking statements are not
   protected by the safe harbor”).


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   Defendants argue that the Government Relationships Statement is “akin” to statements referring to

   “strong relationships with its key customers” found not actionable in United Food and Com. Workers

   Intl. Union Loc. 464A v. Pilgrim's Pride Corp., 2022 WL 684169, at *1 (D. Colo. Mar. 8, 2022) (Moore,

   J.). But in Pilgrim’s Pride, Judge Moore concluded that a chicken producer’s participation in a bid-rigging

   scheme did not disprove statements that the company had “strong relationships with its customers.”

   Id. at *5. Here, InnovAge’s only customers—state and federal governments—repeatedly identified

   systemic deficiencies in providing adequate and compliant care, InnovAge failed to remedy those

   problems, which were exacerbated by the rapid growth in enrollment, and then repeatedly obstructed

   and concealed evidence from regulators to prevent exposure of their noncompliance. ¶¶149-50, 190-

   94.

                b. Defendants fail to show that any investor was aware of the alleged omitted
                   facts
         Defendants contend that the Offering Documents were not misleading by omission because cer-

   tain information was supposedly “public and available to investors,” including the number of “cor-

   rective actions” identified in CMS audits in 2017 and 2019, reports of inspections conducted in 2019

   by Colorado regulators, and allegations in the Whistleblower Complaint about deficiencies from 2016

   to 2019. Mot. 20-21. But this “truth-on-the-market” defense—that those omissions cannot deceive

   investors because the omitted information was already known to the market—does not justify dismis-

   sal for two reasons.

         First, a “truth-on-the-market” defense presumes that information already known to the market is

   reflected in a company’s stock price. Provenz v. Miller, 102 F.3d 1478, 1493 (9th Cir. 1996). For that

   reason, a truth-on-the-market defense is unavailable for statements made in an IPO, such as the Of-

   fering Documents here, because the stock price is set privately and does not necessarily reflect all




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   publicly available information. Boston Ret. System v. Uber Techs., Inc., 2020 WL 4569846, at *6 (N.D. Cal.

   Aug. 7, 2020).

       Second, a truth-on-the-market defense is seldom grounds for dismissal at the pleading stage be-

   cause it requires a showing that “the truth was transmitted to the public with a degree of intensity and

   credibility sufficient to effectively counter-balance any misleading impression created by the insiders’

   one-sided representations.” Gelt Trading, 2022 WL 716653, at *5. “Because that inquiry is ‘intensely

   fact-specific,’ it is ‘rarely an appropriate basis for dismissing’” a case at the motion-to-dismiss stage.

   Id. Defendants do not come anywhere close to meeting their burden, arguing only that certain infor-

   mation was “public and available to investors.” Mot. 20-21. But the mere fact that information was

   “public and could be accessed” does not imply that it was indisputably known to the market, much

   less that it was transmitted with the “intensity and credibility” necessary to neutralize the misleading

   effect of the Offering Documents. Wilkof v. Caraco Pharm. Laboratories, Ltd., 2010 WL 4184465, at *4

   (E.D. Mich. Oct. 21, 2010) (rejecting argument that dismissal was warranted because FDA reports

   documenting the company’s noncompliance “were public and could be accessed by shareholders”).

   Indeed, as Plaintiffs explain in their response to Defendants’ request for judicial notice, Defendants

   fail to show that most of these documents were even “publicly available” at the time of the IPO. See

   Response to Request for Judicial Notice at pp. 4-6.

       B. Defendants violated their duty to disclose the known risk that InnovAge’s growth
          strategy materially threatened its revenue
       Defendants also separately violated Items 303 and 105 of Regulation S-K by failing to disclose

   known trends, uncertainties, and risks that were (1) “presently known to management” and (2) “rea-

   sonably likely to have material effects on the registrant’s financial condition or results of operations.”

   Slater v. A.G. Edwards & Sons, Inc., 719 F.3d 1190, 1197 (10th Cir. 2013). Defendants do not dispute,




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   and thus concede, that the Complaint adequately alleges that InnovAge’s growth strategy was reason-

   ably likely to materially impact the Company’s financial condition. See ¶¶244-45. Instead, Defendants

   argue that the Offering documents adequately disclosed the information required by Items 303 and

   105 and, even if they did not, the Complaint does not allege that “any such omission was known.”

   Mot. 32-34; Underwriters’ Mot. 6-7. Neither argument has merit.

       First, Items 303 and 105 require not only the identification of trends or risks in a company’s busi-

   ness, but also that the company “reasonably expects” those trends or risks to have a material unfavor-

   able effect on revenues. Indiana Pub. Ret. System v. Pluralsight, Inc., 2021 WL 1222290, at *25 (D. Utah

   Mar. 31, 2021), aff'd in part and rev'd in part on other grounds, 45 F.4th 1236 (10th Cir. 2022). To satisfy

   this requirement, a company must do more than include “generic cautionary language”; it must pro-

   vide a “discussion and analysis” that specifically explains “the manner in which” the trend or risk

   “might reasonably be expected to have a material impact on future revenue.” Stratte-McClure v. Morgan

   Stanley, 776 F.3d 94, 105 (2d Cir. 2015); see also Panther Partners v. Ikanos Comms., 681 F.3d 114, 122 (2d

   Cir. 2012) (disclosure that products “frequently contain defects and bugs” and that the company has

   and may experience product defects could not satisfy Item 303). Here, the Offering Documents’ ge-

   neric risk disclosures about InnovAge’s growth strategy do not satisfy Item 303, because they did not

   disclose—much less provide a “discussion and analysis”—that InnovAge reasonably expected its

   growth strategy to have a material and unfavorable effect on revenue. Bond v. Clover Health Investments,

   Corp., 2022 WL 602432, at *22 (M.D. Tenn. Feb. 28, 2022) (holding that plaintiffs adequately alleged

   that healthcare company, whose revenue depended “almost entirely” on Medicare, violated Item 105

   by failing to disclose its history of legal and regulatory violations).

       Second, Items 105 and 303 do not, as Defendants wrongly claim, require that Plaintiffs allege that

   an “omission was known” to specific Defendants. Mot. 33-34; Underwriters’ Mot. 6-7. Rather, Items


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   105 and 303 require only that a trend or risk was “presently known to management,” not that it was

   known to any individual defendant. See Slater, 719 F.3d at 1197. Here, the Complaint alleges facts

   establishing that InnovAge’s management knew about the risks associated with the Company’s growth

   strategy. Correa., 548 F. Supp. 3d at 1082 (holding that trend was known to management because at

   least one former employee stated he was told about the trend by a district manager and a vice president

   of operations). That is enough to support a claim under Section 11. 17

   II. The Complaint Adequately Allges the Post-Offering Statements were False and
       Misleading
      A. Defendants continued to mislead investors about InnovAge’s growth strategy, staff
         shortages, and regulatory compliance
           1. Statements about InnovAge’s growth strategy were false because its enrollment
              was neither “organic” nor driven by “capacity”
      In May and September 2021, Defendant Hewitt repeatedly touted InnovAge’s “organic growth,”

   reiterating the narrative that the Company’s growth was “driven by increasing participant enrollment

   and capacity within existing centers.” ¶¶246, 248(a), 252. These statements were false and misleading

   because (1) InnovAge’s growth was not driven by “capacity within existing centers,” but by a strategy

   that prioritized growth without regard to capacity, (2) the Company’s historical growth was not “or-

   ganic” because it relied on improper enrollment and disenrollment practices; (3) Defendant Hewitt

   and other senior executives had refused requests to increase the capacity necessary to provide adequate

   and compliant care; and (4) state and federal regulators had begun or were scheduled to begin audits

   because of noncompliance that placed the participants’ health at serious risk. ¶¶247, 249(a), 253. De-

   fendants argue that these statements were not false or misleading for three main reasons, none of

   which have merit.


      17
         In any event, the Complaint alleges more than enough facts showing that InnovAge and De-
   fendants Hewitt and Gutierrez knew about the risks associated with the Company’s growth strategy.
   See Section III.


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       First, Defendants assert, without further explanation, that there is “no connection between what

   was said and the allegedly true facts.” Mot. 24. 18 But the Complaint specifically alleges why each state-

   ment was false. See, e.g., ¶¶247, 249(a), 253. In each statement, Defendant Hewitt conveyed that Inno-

   vAge’s growth strategy remained viable and was driven by “capacity within existing centers,” reassur-

   ing investors that “organic growth” would soon return to levels seen before the Covid-19 pandemic.

   Indeed, that is exactly how analysts understood Hewitt’s remarks. See, e.g., ¶199 (analysts issued reports

   explaining that “we were encouraged by building referral momentum and early signs that enrollment

   growth has returned to levels prior to the late-2020 COVID case surge”). But, in truth, Hewitt knew

   that InnovAge’s growth strategy had proven to be a colossal failure and that historical growth was

   never “organic” but instead was driven by improper enrollment and disenrollment practices, and a

   growth strategy that prioritized enrollment without regard to capacity. ¶¶116-17, 120-27, 139-41, 129-

   38, 162-63, 184-89, 205. 19

       Second, Defendants argue that the enrollment of participants who were homeless or otherwise

   lacked stable housing did not render the statements misleading, because Hewitt’s statements “accu-

   rately disclose that InnovAge’s growth was due to participant enrollments.” Mot. 24. But because


       18
            Defendants also argue that the Court should not credit the allegation that Hewitt “refused re-
   quests to increase the ‘capacity within existing centers,’” because the Complaint does not allege the
   source of the allegation. Mot. 25 n.13. But the PSLRA does not require Plaintiffs to identify the sources
   for its allegations. Adams, 340 F.3d at 1102. And in any event, the Complaint is replete with allegations
   that Hewitt and other senior executives denied or ignored repeated requests to increase capacity. See,
   e.g., ¶¶122, 141, 147
         19
            Defendants also argue (at 24) that disclosure of “accurate historic growth figures” does not
   create a duty to disclose “other less favorable facts,” citing McDonald v. Kinder–Mor-
   gan, Inc., 287 F.3d 992, 998 (10th Cir. 2002). But McDonald is inapplicable, because Hewitt did not
   make an “accurate reporting of historic successes” because her statements misled investors into be-
   lieving that InnovAge’s growth resulted from a viable growth strategy and scalable business model.
   SEC v. Woodruff, 778 F. Supp. 2d 1073, 1087 (D. Colo. 2011) (explaining that McDonald did not apply
   to alleged to statements that misled investors into believing that the company’s reported growth was
   driven by monthly sales, not other sources).


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   PACE providers receive monthly payments for each participant, PACE regulations require that the

   participants meet certain eligibility requirements, specifically that the provider can ensure constant and

   coordinated care—a standard that InnovAge could not meet for homeless participants. ¶120. That is

   why InnovAge’s employees repeatedly complained to the Company’s management that enrolling

   homeless participants was improper, unethical, and unsafe. ¶¶82-84, 119-23. 20 Hewitt also did not

   merely tell investors that InnovAge was enrolling more participants, she touted the Company’s pur-

   portedly “organic growth.” As many courts have recognized, touting “organic” growth requires a

   company to disclose that its practices “were not, in fact, organic.” In re Apple Inc. Securities Litig., 2020

   WL 2857397, at *10 (N.D. Cal. June 2, 2020). As this Court has explained, statements about business

   strategy and growth are misleading if they fail to disclose that the growth was driven by improper,

   unethical, and unsafe practices. DaVita, 372 F. Supp. 3d at 1152 (holding that plaintiffs adequately

   pled that growth statements were misleading because the growth was driven by an illegitimate plan to

   steer patients to certain insurance plans).

       Lastly, Defendants contend that the growth-related statements were not false because InnovAge

   disclosed that its growth strategy was “uncertain.” But this argument fails for the same reasons as

   Defendants’ other arguments relying on “cautionary disclosures,” see supra at 13, because generic cau-

   tionary disclosures about future risks do not cure misrepresentations about InnovAge’s past and cur-

   rent practices. Karimi, 2022 WL 2114628, at *10 (statements that “describe current practices” are not



       20
         Plaintiffs do not need to allege, as Defendants wrongly claim (at 24-25), that the recruitment of
   homeless participants was, in fact, a violation of PACE regulations or that “a sufficient number” of
   homeless participants were enrolled. DaVita, 372 F. Supp. 3d at 1152 (explaining that to plead that
   healthcare company’s statements about growth were false and misleading, plaintiffs did not need to
   plead “the illegality or impropriety” of the company’s patient-steering practices or that “any patient
   was in fact steered,” because it was enough to plead that the company “publicly attributed success to
   other factors, while fully cognizant that it had a policy of directing…patients to private insurance”)


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   “forward-looking statements”).

           2. Statements about staff shortages and turnover were false because InnovAge
              suffered from critical staff shortages resulting from its unsustainable growth
       Defendants also repeatedly reassured investors that any turnover and staff shortages resulted from

   industry-wide challenges equally affecting all healthcare providers, including due to the COVID-19

   pandemic. See ¶¶248(b), 250(b) (“Fully Staffed Statement”), 254(a), 254(a). These statements were false

   and misleading because, in fact, InnovAge’s staffing problems were due to working conditions and

   growth strategy causing high turnover and an inability to fill positions that would “ensure proper

   staffing levels.” See, e.g., ¶¶129-38, 139-41, 162-63, 184-89, 205. 249(b). Defendants argue that these

   statements are not false or misleading for four reasons, none of which have merit.

       First, Defendants argue that no investor could interpret statements about its efforts to ensure

   adequate staffing “as a guarantee that it was succeeding.” But securities liability is not limited to guar-

   antees and promises. Jinkosolar, 761 F.3d at 251-52 (holding falsity of statements was adequately alleged

   even though the statements “did not guarantee 100% compliance 100% of the time”). And statements

   describing business practices are misleading if those practices, like InnovAge’s staffing efforts, are

   “then failing.” See id.

       Defendants also claim that their statement that InnovAge’s “internal care delivery costs remained

   largely the same as we remained fully staffed to execute on our participants’ care plans, albeit through

   a different mix of care settings” was not false because it was “simply clarifying that InnovAge had not

   laid off staff because of COVID-19.” Mot. 25. But Defendants cannot obtain dismissal by offering

   their own self-serving interpretation of their statements. In re Myriad Genetics, Inc., 2021 WL 977770, at

   *9 (D. Utah Mar. 16, 2021) (the Court cannot “apply [Defendants’] interpretation of the statements

   to grant a motion to dismiss”). Nor would Defendants’ alternative interpretation make the statement




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   any less false and misleading. Investors understood the statement to mean that InnovAge was, in fact,

   sufficiently “fully staffed” to provide adequate and compliant care to its participants. But, in truth, at

   the time of the statements, InnovAge was suffering from staff shortages that were so severe that some

   centers were “effectively non-operational,” ¶250, and the Company’s staff failed to routinely check on

   its home-bound participants during the Covid-19 pandemic, resulting in adverse health consequences,

   including at least one death, ¶¶131, 138.

       Second, Defendants argue that InnovAge disclosed “the fact of staffing shortages” in the Offering

   Documents and subsequent public filings. Mot. 25. But this argument fails for the same reasons as

   Defendants’ other arguments relying on cautionary disclosures, see supra at 13, because none of the

   statements are forward-looking and generic warnings about future risks are meaningful enough to cure

   the misrepresentations. In re 2U, Inc. Securities Class Action, 2021 WL 3418841, at *16 (D. Md. Aug. 5,

   2021) (“general warnings that merely highlighted the obvious downsides” of growth insufficient to

   cure misrepresentations because “they did not specifically warn of any actual data that cast doubt on

   [the] business model and growth plans”).

       Third, Defendants contend that Defendant Hewitt’s statement during the May 2021 earnings call

   that InnovAge had done an “excellent job of really ensuring that we’ve kept our turnover rates down”

   is nonactionable because it is a “simple and generic assertion” about “the success of the team and not

   a description of its work in confident detail.” 21 Mot. 23. But Hewitt’s statement “went well above

   puffery” because it “was a direct response to an analyst’s inquiry.” Makor Issues & Rts., Ltd. v. Tellabs,

   Inc., 437 F.3d 588, 597 (7th Cir. 2006). Further, investors would have understood Hewitt’s specific

   statements about a “low voluntary turnover rate” to mean that the statements were “grounded in


       21
         Defendants attribute the statement to “InnovAge” but Defendant Hewitt made the statement
   during the May 2021 earnings call. ¶248(b).


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   concrete metrics.” Pluralsight, 45 F.4th at 1249 (explaining that statements are actionable if “grounded

   in concrete metrics or other objectively verifiable data”).

       Fourth, Defendants claim that Hewitt’s statement about turnover rates was an “opinion” because

   Hewitt prefaced her statement with the words “I think.” But the Tenth Circuit has explained that

   “issuers cannot avoid liability by liberally sprinkling prefatory labels throughout a prospectus or simply

   tacking them onto everything they say.” MHC Mut. Conversion Fund, L.P. v. Sandler O'Neill & Partners,

   L.P., 761 F.3d 1109, 1120 (10th Cir. 2014) (“‘We think,’ ‘We believe,’ or ‘In our opinion’ may…suggest

   an opinion follows, [but] it doesn’t guarantee it.”). And here, Hewitt’s statement responded to an

   analyst’s question about “the capacity” of clinical staff to keep pace with “participant growth.” Defs.

   Ex. 18 at 11. Hewitt’s response reassured investors that the staffing was sufficient and could accom-

   modate future growth, when, in fact, staff shortages were so severe at the time of the statement that

   some of InnovAge’s centers was “effectively non-operational” ¶205. Whether Hewitt “subjectively

   believed” in the statement is beside the point, because “[t]he securities laws impose a personal obliga-

   tion on corporate executives,” like Defendant Hewitt “to sufficiently ground their communications in

   facts.” GenAudio Inc., 32 F.4th at 924.

           3. Statements about InnovAge’s regulatory violations were false because it had
              never remedied systemic and ongoing deficiencies
       In its May 2021 Form 10-Q, InnovAge disclosed that “recently,” the Company had learned that

   some of its centers failed to “timely complete…new participant assessments and care plans” in com-

   pliance with PACE regulations that require InnovAge to conduct assessments of new participants

   within 30 days of enrollment and to develop individualized care plans, adding that it was “working

   diligently to remedy this issue.” ¶250(c). This statement was false and misleading because investors

   would have understood the statement to mean that InnovAge had only recently learned of this




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   regulatory violation, that it was unaware of any similarly significant violations or deficiencies, and that

   the Company worked “diligently” to remedy known violations. But, in truth, internal and external

   audits since as early as 2016 had consistently identified InnovAge’s systemic failure to timely complete

   participant assessments and develop care plans and the Company failed to remedy those deficiencies,

   which had substantially worsened by the May 2021 Form 10-Q. 22

            4. Statements about government relationships were false because InnovAge
               repeatedly violated regulatory standards and concealed evidence from auditors
       In its May 2021 Form 10-Q, InnovAge stated that “[m]aintaining, supporting, and growing” In-

   novAge’s relationships with government payors is “critical to our long-term success” and “[o]ur model

   is aligned with the interests of our government payors.” ¶250(d). This statement was false and mis-

   leading because it conveyed that InnovAge took reasonably effective steps to comply with its contrac-

   tual and regulatory obligations, and was forthcoming, transparent, and honest in its dealings with reg-

   ulators—the Company’s only customers and source of 99% of the Company’s revenue. But, in truth,

   InnovAge consistently violated regulatory standards, failed to remedy identified deficiencies, and di-

   rected its staff to obstruct and conceal evidence from government auditors, including as recently as in

   May 2021. ¶¶149, 165, 190-94, 277. Defendants ignore these facts, instead arguing that InnovAge’s

   failure to process grievances has nothing to do with its government relations. Mot. 27. But that failure

   is just one of many facts supporting falsity and was a consistently identified deficiency that InnovAge

   failed to remedy. ¶250(d). Falsity is thus adequately alleged. DaVita, 372 F. Supp. 3d at 1153.




       22
         Defendants argue that this statement was not false because “InnovAge’s historical audit defi-
   ciencies and the potential for future audits were disclosed in the Offering Documents and were public
   knowledge.” Mot. 26-27. But this argument fails for the same reason as Defendants’ other arguments
   relying on cautionary disclosures. See supra at 13; Jinkosolar, 761 F.3d at 251 (disclosure that noncom-
   pliance with regulations “may be very costly” did not cure “the failure to disclose then-ongoing and
   serious pollution violations.”).


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      B. After regulators released initial audit findings, Defendants misled investors by mini-
         mizing the significance of the audits
      By September 10, 2021, InnovAge had received feedback from the 2020-21 Audits, notifying staff

   in a Zoom call held that day about the deficiencies that had been identified in Colorado and Sacra-

   mento, and providing guidance for improvement. ¶209. In the Zoom training call, a recording of

   which was obtained by The Capitol Forum, management outlined their goals for responding to the de-

   ficiencies identified in Colorado and explained that CMS had found similar issues in a separate audit

   of some of InnovAge’s operations in California: “As you can see, California and Colorado pretty much

   have the same areas of opportunities for improvement.” Id.. One week later, in a letter addressed to

   Hewitt, CMS notified InnovAge that its audit of the Sacramento center had revealed systemic defi-

   ciencies so severe that CMS concluded InnovAge had “failed substantially” and was “substantially

   failing” to provide its participants “medically necessary items and services” and that “those failures

   adversely affected (or have the substantial likelihood of adversely affecting) its participants.” ¶210.

   Because of the “seriousness” of the deficiencies identified, CMS took the rare step of suspending

   enrollment at the Sacramento center. ¶210. Following the public disclosure of the Sacramento audit

   findings, Defendants tried to minimize and downplay the significance of the audit, misleading inves-

   tors into believing that deficiencies identified were minor and did not suggest systemic problems at

   other centers.

      September Audit Statements . In a September 2021 earnings call to discuss InnovAge’s fourth

   quarter 2021 financial results, Defendant Hewitt tried to minimize the Sacramento audits, telling in-

   vestors that “audits are a regular occurrence in our industry” and that “[we] have and continue to work

   collaboratively with regulators as we seek to constantly improve our processes and outcomes to better

   serve our participants and their families.” ¶254(b). This statement was false and misleading, because




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   audits were not “a regular occurrence” at that time due to CMS’s suspension of auditing activities

   during the COVID-19 pandemic, which limited audits to infection control concerns or “instances of

   noncompliance” that placed the “health” of participants “at serious risk.” ¶¶93, 255(b).

       An analyst asked whether the Colorado audits, which were still pending at that time, could also

   “result in a freeze” as the Sacramento audit had. Defs. Ex. 19 at 14. Defendant Hewitt obfuscated by

   saying that they did “not have the outcome of the Colorado [audits],” “can’t give you any guidance

   around Colorado at this time,” and that they did not “have any knowledge” that the Sacramento and

   Colorado audits were “related.” ¶254(b). Later, another analyst asked about similarities between the

   Sacramento and Colorado centers and whether there was a “risk” that the Colorado audits would

   result in a “similar outcome.” Defs. Ex. 19 at 20. In response, Defendant Hewitt continued to down-

   play the Sacramento audit findings, telling investors that the Sacramento and Colorado audits were

   “two different kinds of surveys,” “two different things,” and “very different things.” ¶¶254(b), 255(b);

   see also Defs. Ex. 19 at 21. These statements misled investors into believing that the Sacramento audits

   were minor and did not suggest company-wide problems, when, in truth, Defendants knew that the

   Colorado audits had identified the same systemic deficiencies that had been identified in Sacramento.

   ¶¶208-09. Indeed, the next day, analysts reiterated the bullish assessments about InnovAge, reporting

   that the Sacramento audits required “straightforward fixes” and that “we don’t see this situation as

   representative of [InnovAge’s] operations as a whole.” ¶214. See In re Signet Jewelers Ltd. Sec. Litig., 2018

   WL 6167889, at *13 (S.D.N.Y. Nov. 26, 2018) (concluding that analyst reactions reflected that their

   understanding was influenced by the company’s statements and thus supported falsity).

       Defendants make no convincing arguments about why these statements are not false or mislead-

   ing. First, Defendants contend that the statement that “audits are a regular occurrence in our industry”

   was not false or misleading because the Complaint “does not allege that audits are not ‘a regular


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   occurrence.’” Mot. 28. 23 But that is false. Audits were not “a regular occurrence” in the PACE industry

   at that time. ¶¶93, 254-5(b). Defendants claim that they were not required to disclose that CMS had

   suspended auditing activities during the Covid-19 pandemic because the policy was “publicly availa-

   ble.” Mot. 28. But the “mere fact” that this policy had been posted on CMS’s “website” or “was made

   public, is not enough to shield Defendants from liability,” particularly at the motion-to-dismiss stage.

   In re Amgen Inc. Securities Litig., 2014 WL 12585809, at *15 (C.D. Cal. Aug. 4, 2014) (holding that same

   regarding FDA documents on the agency’s website). Nor do Defendants show that the policy was

   transmitted to the market with the “intensity and credibility sufficient to effectively counter-balance”

   Hewitt’s “one-sided representations” that the audits were “routine.” Gelt Trading, 2022 WL 716653, at

   *5 (explaining that “the investing public places a heavy emphasis on the pronouncements of corporate

   insiders”).

       Next, Defendants argue that Plaintiffs cannot rely on the September 10 Zoom call because the

   Complaint “does not sufficiently identify the purported speaker.” But the Complaint alleges the date

   of the call, the topics discussed, specific statements made during the call, and that The Capitol Forum

   had “obtained a recording” of the call. ¶208; see also Defs. Ex. 16. The PSLRA requires nothing more.

   Adams, 340 F.3d at 1102 (holding that the PLSRA does not require plaintiffs to identify the source of

   allegations).

       Finally, Defendants argue that Hewitt’s repeated statements that the Colorado and Sacramento

   audits were “different” were not false because the Complaint does not allege that various “differences”

   mentioned by Hewitt were “untrue.” Mot. 29. But even if Hewitt’s reasons for the differences between


       23
         Defendants claim that Plaintiffs erroneously claimed this statement pertained to specific audits
   (Mot. 28 n.15) but that is precisely what the statement said: the sentence immediately preceding the
   statement in question reads, “I will now provide a brief update on the status of our audits in Sacramento
   and Colorado.” Defs. Ex. 7 at 8 (alteration adopted).


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   the two audits were all technically accurate, Hewitt’s statements were still misleading because they

   conveyed an overall impression that the Sacramento audit findings did not suggest the likely outcome

   of the Colorado audits. Omnicare, Inc. v. Laborers Dist. Council Const. Indus. Pension Fund, 575 U.S. 175,

   192 (2015) (explaining that “literal accuracy is not enough,” because “[a]n issuer must as well desist

   from misleading investors by saying one thing and holding back another”). Analyst reactions make

   clear they were misled by these statements, with one analyst later explaining that “we did not anticipate

   [the Colorado audits] would progress to freezes, but rather a corrective action plan,” because of “com-

   mentary from management.” ¶228. See Signet Jewelers, 2018 WL 6167889, at *13 (explaining that analyst

   reactions support falsity). Defendants also claim that they were not required to disclose “preliminary”

   audit findings showing that the Colorado audits had identified the same systemic deficiencies present

   in Sacramento. 24 But once Hewitt chose to affirmatively reassure investors that the Sacramento and

   Colorado audits were “different,” she undertook an obligation to “speak fully and truthfully” by dis-

   closing that the Company knew that the audits had identified the same systemic problems. Maxar,

   2020 WL 5500458, at *10. 25


       24
           Defendants cite Singh v. Cigna Corp. for the proposition that InnovAge was “not required to
   disclose all communication with a regulator,” Mot. 28, but that case supports Plaintiffs not Defend-
   ants. Singh v. Cigna Corp., 277 F. Supp. 3d 291, 312 (D. Conn. 2017) (explaining that “the existence of
   ‘ongoing and substantial’ violations of regulations that are left undisclosed can lead to a material mis-
   statement or omission” but concluding no violations were alleged to be ongoing at the time of the
   statements at issue). Defendants also argue that “preliminary findings similar to the Sacramento audit”
   did not render the statement that there had been “no immediate corrective actions identified” false or
   misleading. Mot. 28. But this statement must be viewed in the context of the rest of Hewitt’s remarks,
   which as noted above analysts clearly understood to mean that the initial findings from the Colorado
   audits did not indicate problems similar to those identified in the Sacramento audits. ¶213; Defs. Ex.
   8-9.
        25
           Defendants claim that Hewitt’s statements “must be assessed together with her admonition in
   the same earnings call that ‘we can’t give you any guidance around Colorado at this time.’” Mot. 29.
   But even that statement was itself false because the Company knew that the audits had identified the
   same systemic and pervasive problems in Colorado that were found in Sacramento and she chose to
   respond to the analysts’ questions on that subject.


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       November Audit Statements. Two months later, on a November 9, 2021, earnings call, Hewitt

   continued to minimize the significance of the Sacramento audits, telling investors that “[f]or context,

   there were less than 200 participants in our Sacramento center as of the beginning of this month.”

   ¶¶217, 259(b). After Hewitt disclosed that CMS had referred the Colorado audits to the agency’s com-

   pliance and enforcement division (“DCE”), analysts asked whether the referral was “expected” or “a

   normal part of the process or if there was something that caused it to be referred.” ¶¶218-19, 259(c);

   see also Defs. Ex. 11 at 20. In response, Hewitt downplayed the referral as “not unusual” and “not an

   uncommon practice,” adding that “there's been no information as far as the agencies are intending to

   suspend or otherwise curtail o[u]r programs or impose other sanctions” and that “I do think Colorado

   is a little bit different than Sacramento.” ¶¶218-19, 259(c); see also Defs. Ex. 11 at 21. Hewitt’s state-

   ments were false and misleading because they mislead investors into believing that the deficiencies

   identified in Sacramento did not suggest company-wide problems. Likewise, Hewitt’s statements mis-

   led investors into believing that CMS’s referral of the Colorado audits to DCE was “not unusual,”

   when, in fact, cases are referred to DCE only when “deficiencies are serious enough to escalate directly

   to the enforcement activity stage” or when “core compliance deficiencies remain unresolved.” ¶260(c).

       Defendants argue that Hewitt’s statement that “Colorado is a little bit different than Sacramento”

   is not actionable because Hewitt prefaced the statement with the words “I think.” 26 But as discussed

   above, attaching prefatory labels like “I think” does not automatically transform a statement into an



       26
         Defendants also argue that Defendant Hewitt’s statement that the CMS referral to DCE was
   “not unusual” was not false because the CMS’s Medicare Oversight and Enforcement Group
   (“MOEG”) “oversees, coordinates and conducts the audits of all PACE organizations.” Mot. 29 (cit-
   ing ¶260). But Defendants confuse two separate divisions of CMS. As the Complaint explains, while
   MOEG generally oversees audits of all PACE programs, “in certain cases, ‘conditions noted in the
   audit may be referred the Division of Compliance Enforcement (DCE),’” which is responsible only
   for enforcement determinations. ¶260(c).


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   opinion. MHC Mut. Conversion Fund, 761 F.3d at 1120. And an “opinion” is still actionable because

   Hewitt omitted facts that made the statement misleading. GenAudio, 32 F.4th at 925 (“Statements of

   opinion are indeed actionable if the speaker omits material facts that make the statements mislead-

   ing”).

       During the November 2021 earnings call, Hewitt also disclosed that InnovAge would “begin a

   routine audit in New Mexico that will be handled remotely.” ¶259(b). This statement was false and

   misleading because New Mexico regulators confirmed to The Capitol Forum that by that time, the audit

   had “already been going on for several weeks.” ¶260(b). Defendants argue that this statement was

   immaterial because the “duration of any audit is not fixed, there is no reason the precise time it begins

   would be material.” Mot. 30. But the “abnormal length” of an audit reflected the severity and extent

   of deficiencies identified; the New Mexico spokesperson told The Capitol Forum that “while the Albu-

   querque center was scheduled to have a routine audit, CMS ‘started earlier this year due to what’s been

   going on in other states.’” Defs. Ex. 17 (Nov. 11 TCF article) at 1.

       C. Defendants Hewitt and Gutierrez falsely certified that InnovAge’s SEC filings were
          not false or misleading
       Defendants concede that if the Court finds that they made any false statements in their quarterly

   or annual SEC filings during the Class Period, ¶¶250-51, 256-57, 261-62, then the Sarbanes-Oxley

   certifications filed by Defendants Hewitt and Gutierrez in connection with those filings are also false.

   Mot. 31. Because the Court should find multiple false statements in the SEC filings, it should also find

   the certifications to be false.

       D. Defendants fail to meaningfully dispute that the Post-Offering Statements omitted
          facts that rendered them misleading
       Defendants argue that the same information omitted from the Offering Documents was also

   omitted from the Post-Offering Statements, and that in neither scenario did the omission render the



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   statements false and misleading. The omission of the same information renders the statements false

   and misleading, plus the Post-Offering Statements omitted additional facts, including reports from

   regulators about “dangerously low” numbers of clinical staff at certain centers, ¶¶249(b), 251(b),

   255(a), 260(a)); internal communications that some centers were understaffed and that participants

   lacked primary care physicians on their IDTs, ¶¶249(b), 251(b); audits by regulators had begun or were

   soon to begin in Sacramento and Colorado, ¶¶249(a)-(b). 251(b)-(d), 253, 255(a); efforts by Defend-

   ants and other senior InnovAge executives to obstruct and conceal evidence from government audi-

   tors, ¶251(d); and preliminary findings from the Colorado and Sacramento audits, ¶¶255(b). Defend-

   ants do not even care to mention these omitted facts, let alone substantively dispute that they rendered

   the Post-Offering Statements misleading. Plaintiffs have adequately pled that the Post-Offering State-

   ments were false and misleading. Snyder v. Beam Techs., Inc., 2021 WL 4947295, at *16 (D. Colo. Aug.

   16, 2021) (Wang, M.J.) (explaining that when a defendant “raises no substantive argument explaining”

   allegations are “insufficient,” dismissal on those grounds is not warranted). 27

   III. The Complaint Adequately Pleads Scienter
       Scienter may be established by showing recklessness, which is “akin to conscious disregard.” Plu-

   ralsight, Inc., 45 F.4th at 1259. A complaint alleges a strong inference of scienter so long as a reasonable

   person would “deem the inference of scienter cogent and at least as compelling as any opposing in-

   ference one could draw from the facts alleged.” Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308,




       27
          Defendants also argue that the truth-on-the-market defense is even “stronger” for the Post-
   Offering Statements, because some of The Capitol Forum articles were “published” before the Post-
   Offering Statements were made. As Plaintiffs explain in their response to Defendants’ Request for
   Judicial Notice, Defendants cannot show that any of The Capitol Forum articles were publicly available
   at the time of the challenged statements, much less that the information in the articles was indisputably
   known to the market in a manner that overcame Defendants’ deception. Gelt Trading, 2022 WL 716653,
   at *5.


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   324 (2007). In making this determination, the Court must first “accept all well-pleaded factual allega-

   tions in the complaint as true and constru[e] them in the light most favorable to the plaintiff.” Plu-

   ralsight, 45 F.4th at 1261 (quotation omitted). Then, the Court must determine “whether all of the facts

   alleged, taken collectively, give rise to a strong inference of scienter, not whether any individual alle-

   gation, scrutinized in isolation, meets that standard.” DaVita, 372 F. Supp. 3d at 1153. The detailed

   allegations, when considered together, give rise to a strong inference of scienter. 28

       A. Defendants knew about and had access to information that contradicted their
          statements
       It is undisputed that Defendant Hewitt and other senior executives like CMO Welch knew about

   the results of audits and inspections before the IPO from 2017 to 2020. ¶¶152, 154, 193, 276. 29 These

   audits consistently revealed systemic and pervasive deficiencies that InnovAge failed to remedy and

   which, by the time of the IPO, had worsened to such a serious extent that regulators suspended en-

   rollment at InnovAge centers across the country. ¶¶224-25. Hewitt and Gutierrez also confirmed that

   they, and other senior executives such as CMO Welch, closely monitored regulatory audits, repeatedly

   detailing the status of audits to analysts and investors. ¶¶212-13, 217-19, 254, 259, 282. Pluralsight, 45

   F.4th at 1264 (noting that knowledge of falsity may be adequately pleaded where executives “repeat-

   edly described” that information “to analysts and investors”). During the Class Period, Hewitt and

   Gutierrez, along with other senior executives such as CMO Welch, also knew that regulators received

   complaints about, among other things, “dangerously low” numbers of clinical staff and “high turno-

   ver.” ¶¶180-82. They also knew that those complaints had triggered regulatory audits of InnovAge’s



       28
           Defendants do not address whether the Complaint alleges scienter for their violations of Regu-
   lation S-K. These arguments are waived.
        29
           See also PACE, 2020 Audit Overview, https://www.cms.gov/files/document/2020-pace-audit-
   overview.pdf (“Notification of the engagement letter is sent to the PACE organization’s CEO - CMS
   Administrator Contact designated in HPMS.”)


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   centers in Colorado and California. ¶¶201, 254. Yet Hewitt and Gutierrez continued to downplay and

   minimize the significance of audits they knew would find that InnovAge was operating well below

   regulatory standards. See, e.g., Institutional Invs. Grp. v. Avaya, Inc., 564 F.3d 242, 269 (3d Cir. 2009)

   (denials contribute to inference of scienter).

       Defendants’ knowledge of ongoing and substantial regulatory violations at the time of their state-

   ments is further corroborated by former and current employees’ statements, as well as documentary

   evidence obtained by The Capitol Forum, including repeated and consistent complaints to CMO Welch

   about the urgent need to increase staffing, ¶¶201-05, 163, CMO Welch’s receipt of real-time reports

   via email about the number of outstanding orders for specialty and other types of care, ¶¶164, 203,

   and a telephonic meeting just three months before the IPO with Defendant Hewitt, CMO Welch,

   other executives, and 40 doctors and nurse practitioners who reported that the Company’s inadequate

   staffing levels were resulting in missed labs and unfilled specialty care orders, ¶167. 30 Further, multiple

   former and current employees confirmed that CMO Welch and other senior executives directed staff

   to obstruct and conceal evidence from government auditors both before and during the Class Period.

   ¶¶165, 191, 193-94.

       Defendants attempt to diminish the severity of these allegations by impugning the credibility of

   three of the six FEs. Mot. 36-38. But as discussed above, the Complaint alleges the job titles, tenure

   at the company, and facts showing the basis for personal knowledge of the facts alleged. ¶¶66-71. The

   PSLRA requires nothing more. Anderson v. Spirit Aerosystems Holdings, Inc., 827 F.3d 1229, 1239 (10th


       30
         Defendants dispute that Hewitt denied repeated requests from the former Regional Executive
   for California to “pause enrollment to allow us to build a better network,” claiming that the Court can
   ignore the allegation because the Complaint did not specify when the requests were made, what exactly
   the request was based on, or why InnovAge needed a better network. Mot. 37. But the PSLRA does
   not require Plaintiffs to plead those facts what’s more, the allegations are entirely consistent with
   systemic deficiencies that regulators identified. Adams, 340 F.3d at 1102.


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   Cir. 2016) (noting that at the motion-to-dismiss stage, courts must “accept the truth of the witnesses’

   accounts as pleaded in the complaint and do not assess the witnesses’ credibility”). Relying on Ander-

   son, Defendants claim that allegations about their receipt of reports or attendance at meetings is not

   sufficient, but the Tenth Circuit later distinguished Anderson explaining that it is limited to its specific

   facts, which involved complex projections about particular aspects of massive projects lending to a

   finding that defendants were at most negligent for “failing to put together a great volume of puzzle

   pieces.” See Pluralsight, 45 F.4th at 1263-64 (discussing Anderson and Level 3). 31 Here, as in Pluralsight, it

   is “reasonable to infer” that Defendants were aware of information that related to a “key business

   metric” that the executives “repeatedly represented [they] monitored, and that [they] regularly reported

   to investors and analysts.” Id. at 1264. These allegations create a strong inference of scienter, including

   as part of the holistic analysis. Adams, 340 F.3d at 1106 (defendant’s position as “president and chief

   executive officer” was relevant to holistic analysis).

       B. InnovAge’s admissions support the inference that Defendants’ statements were
          knowingly or recklessly false when made
       Defendants argue that the admissions by Defendant Gutierrez and Mr. Blair do not support sci-

   enter. Mot. 34-35. That is wrong. In Pluralsight, the Tenth Circuit held that belated acknowledgment

   of a problem supports an inference that the defendant “knew he had materially misrepresented” in-

   formation during the class period and rejected the argument that such statements were merely non-

   culpable hindsight. Pluralsight, 45 F.4th at 1263. Defendants, likewise, try to recast Mr. Blair’s and

   Defendant Gutierrez’s admissions as mere shifts in policy or practice. Mot. 35. But the actual state-

   ments make clear that Mr. Blair and Defendant Gutierrez acknowledged that InnovAge required a



        Defendants also cite Smallen v. The Western Union Company, but that decision also relied mainly on
       31

   Anderson. See Smallen v. The W. Union Co., 950 F.3d 1297, 1308 (10th Cir. 2020).



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   complete “transformation” before it would ever be able to operate “a consistent, scalable platform.”

   ¶267. Mr. Blair’s conclusion, after only a few months as CEO, that the Company would need “trans-

   formational actions” before it could even hope to create a business model that Defendants had touted

   for years prior as a “proven” success “support[s] the inference” that Defendants “knew [their] repre-

   sentation[s]…presented a danger of misleading investors, or at least that the danger was so obvious

   [they] must have known of it.” Pluralsight, 45 F.4th at 1261. 32

          C. Resignations by InnovAge’s most senior executives support an inference of scienter
          Defendant Hewitt’s and CMO Welch’s sudden resignations after regulatory sanctions also sup-

   ports an inference of scienter. Hewitt, InnovAge’s only CEO, who the Offering Documents hailed as

   a “visionary,” resigned just one week after CMS announced its suspension of enrollment at all Colo-

   rado centers. ¶¶32, 171, 228, 231, 278. The resignation followed reports by analysts that assailed In-

   novAge management’s lack of “credibility,” stating that their analysis had been skewed by manage-

   ment’s assurances that the Colorado audits were different than the Sacramento audit. ¶13. Then, CMO

   Welch’s resignation was announced just a few months later. These facts support an inference of sci-

   enter. Myriad Genetics, 2021 WL 977770, at *24 (resignations of “two prominent executives” that were

   “effective immediately” supported inference of scienter); Epstein v. World Acceptance Corp., 203 F. Supp.

   3d 655, 671-72 (D.S.C. 2016) (scienter supported by “the resignation of the Company’s three most

   senior executive[s]”); Brendon v. Allegiant Travel Co., 412 F. Supp. 3d 1244, 1263 (D. Nev. 2019) (COO’s

   resignation “one week after” corrective disclosure supported inference of scienter).




     32
       Defendants’ cases are distinguishable because they are limited to specific circumstances not pre-
   sent here. Sorkin, LLC v. Fischer Imaging Corp., 2005 WL 1459735, at *5 (D. Colo. June 21, 2005) (ac-
   knowledging accounting errors is not an admission of a scheme to defraud because “accounting irreg-
   ularities, standing alone, are insufficient to state a securities fraud claim.”)


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       D. Motive and opportunity do not need to be alleged, but further support an inference of
          scienter
       While Plaintiffs need not plead motive or opportunity to establish scienter, it is alleged here and

   bolsters the strong inference of scienter. Hewitt and Gutierrez are “high-level corporate insiders,

   which gives rise to the presumption of an opportunity to commit fraud.” Oklahoma Firefighters Pension

   and Ret. System v. Lexmark Intl., Inc., 367 F. Supp. 3d 16, 36 (S.D.N.Y. 2019). To establish motive, “[the

   plaintiff] must allege that the corporate defendant or its officers ‘benefitted in some concrete and

   personal way from the purported fraud,’” typically by alleging that corporate insiders “ma[de] a mis-

   representation to sell their own shares at a profit.” JP Morgan, 553 F.3d at 198. Here, as part of an

   agreement with WCAS to take InnovAge public, Apax invested in InnovAge in a deal that valued the

   Company at $950 million—nearly 500 times what WCAS paid for the Company four years earlier. ¶7.

   In connection with the Apax investment, Hewitt and Gutierrez received more than $35 million and

   $7.5 million in cash awards, respectively, consisting of “transaction bonuses,” “option cancellation

   payments” for options that were cancelled because of the Apax investment, and additional payments

   “as an incentive to participate” in the option cancellation “in connection with Apax’s investment in

   the Company.” ¶¶32-33, 279. 33 Pluralsight, Inc., 45 F.4th at 1267 (finding motive adequately alleged

   because “Defendants profited greatly from their stock sales” and “sold a significant portion of [their]

   holdings”). Hewitt’s and Gutierrez’s massive windfall was not the sort of “incentive-based compen-

   sation” that is common among executives, as Defendants wrongly claim. Mot. 39. Rather, Hewitt and




       33
          Defendants claim that most of the payments that Hewitt and Gutierrez received in connection
   with the Apax transaction “was earned pre-IPO while InnovAge was a private company, rendering
   their alleged motive to inflate the stock price implausible.” Mot. 39. But nothing in InnovAge’s SEC
   filings disclose when Hewitt and Gutierrez received the payments, which were recorded on the Com-
   pany’s financial statements for fiscal year 2021. And at any rate, the offering price for InnovAge’s
   stock was necessarily set privately before the IPO. See Uber, 2020 WL 4569846, at *6.


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   Gutierrez’s “bonuses were tied to a specific goal”—the Apax transaction and the IPO—and thus they

   both thus had “a specific motive to lie” to cooperate in the Apax investment and IPO because “doing

   so would allow them to reap a concrete benefit in the form of bonuses” amounting to more than

   4300% and 1900% of their base salaries, respectively. Nguyen v. New Link Genetics Corp., 297 F. Supp.

   3d 472, 498–99 (S.D.N.Y. 2018) (holding that motive was adequately alleged where defendants had “a

   specific motive to lie about or manipulate patient enrollment numbers since doing so would allow

   them to reap a concrete benefit in the form of bonuses amounting to nearly 60% and 49% of their

   base salaries”).

       E. Holistic analysis of the facts alleged compels the finding that scienter is adequately
          alleged
       In sum, when viewed holistically as required, the Complaint amply pleads scienter. Indeed, De-

   fendants do not propose an alternative or competing explanation for their conduct. Tellabs, 551 U.S.

   at 323. And the Court need “not address arguments not actually raised and briefed by the parties.”

   DaVita, 372 F. Supp. 3d at 1153. Because the Complaint alleges scienter for Defendants Hewitt and

   Gutierrez, as well as other executives, scienter is imputed to corporate defendant InnovAge. Myriad

   Genetics, 2021 WL 977770, at *18 (considering allegations about executives in deciding whether plain-

   tiffs stated a claim against Myriad).

   IV. The Complaint Adequately Alleges Control Person Claims
       Under Section 15 of the Exchange Act and Section 20(a) of the Securities Act, “a person who

   controls a party that commits a violation of the securities laws may be held jointly and severally liable

   with the primary violator.” Maher v. Durango Metals, Inc., 144 F.3d 1302, 1304–05 (10th Cir. 1998). To

   allege control person liability under those sections, a plaintiff must establish (1) a primary violation of

   a securities law, and (2) “control” over the primary violator by the alleged controlling person. Id. The

   Complaint adequately alleges that the Director Defendants and Private Equity Defendants are


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   controlling persons. 34

       The Complaint alleges that the Director Defendants are controlling persons because they con-

   sented to be named as director nominees in the Offering Documents and were required to supervise

   the preparation and dissemination of the Offering Documents and ensure that they were accurate and

   complete. 35 See Correa, 548 F. Supp. 3d at 1084 (holding liable as control person a director who con-

   sented to being named as a Director Nominee or facilitated the IPO process). And the Complaint

   alleges that Defendant Scully was extensively involved in InnovAge’s conversion to a for-profit com-

   pany, its growth strategy, and its decision to go public. ¶¶5-7, 103-05, 107-09, 113-14, 123, 223.

       Defendants’ suggestion that the Complaint fails to allege that WCAS and Apax are control persons

   makes no sense. The Complaint quotes directly from the Offering Documents, which expressly state

   that InnovAge is “controlled” by WCAS and Apax. 36 According to the Offering Documents, Apax

   and WCAS “beneficially own…86% of our outstanding common stock” and “together will control

   the vote of all matters submitted to a vote of our shareholders.” ¶378; see Prospectus at 1, 18. The

   Offering Documents state that “Our Principal Shareholders,” that is, Apax and WCAS, “control us”

   and “will have significant influence with respect to our management, business plans and policies.” ¶378; Prospectus



       34
           Defendants do not challenge, and thus concede, that the Complaint adequately alleges that the
   Officer Defendants are controlling persons.
        35
           The Complaint does not, as Defendants wrongly suggest, allege that the Director Defendants
   “signed the Offering Documents.” Rather, the Complaint alleges that the Director Defendants
   “signed a written consent to being named in the Offering Documents as an individual to become a
   director of the Company.” ¶¶36-44. That is sufficient. Correa, 548 F. Supp. 3d at 1084.
        36
           Defendants argue that the Complaint “does not explain how ownership of InnovAge was di-
   vided after the IPO, making it impossible to evaluate the post-offering claims as to control,” but
   provide no authority for why such an evaluation is necessary, let alone required. Mot. 45; In re Gohealth,
   Inc. Securities Litig., 2022 WL 1136576, at *3 (N.D. Ill. Apr. 18, 2022) (rejecting the argument that a
   complaint must allege that a defendant “alone exercised control” because “more than one entity may
   have requisite control under Section 15” and that two defendants “may have shared control does not
   foreclose Defendant's liability”)


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   18. Finally, the Complaint alleges that five of the Company’s board members are representatives from

   Apax and WCAS. ¶46. 37

   V. The Complaint Adequately Alleges Securities Act claims
       Section 11 of the Securities Act “places a relatively minimal burden on a plaintiff” who “need only

   show a material misstatement or omission to establish [a] prima facie case,” and “liability against the

   issuer of a security is virtually absolute, even for innocent misstatements.” Herman & MacLean v. Hud-

   dleston, 459 U.S. 375, 382 (1983). Likewise, Section 12(a)(2) of the Securities Act “provides essentially

   the same cause of action” as Section 11 “but applies it to persons who use material misstatements or

   omissions in a prospectus in an offer or sale of a security.” In re Oppenheimer Rochester Funds, 838 F.

   Supp. 2d 1148, 1156-57 (D. Colo. 2012). Plaintiffs adequately alleged their claims under Section 11

   and Section 12(a)(2) consistent with Tenth Circuit precedent and none of the Underwriter Defendants’

   arguments have merit.

       Plaintiffs’ claims against the Underwriter Defendants are not, as those defendants wrongly claim,

   subject to Rule 9(b)’s heightened pleading standard. Underwriters’ Mot. 2-5, 14-15. While courts dis-

   agree about whether Rule 9(b) should apply to Securities Act claims that “sound in fraud,” courts

   uniformly agree that Securities Act claims against underwriters are not subject to Rule 9(b) because

   such claims “sound in negligence”—including in cases cited by the Underwriter Defendants. See, e.g.,

   Rombach v. Chang, 355 F.3d 164, 178 (2d Cir. 2004) (cited at Underwriters’ Mot. 4-5 & n.4, 7) (affirming




       37
         Defendants claim that “[a] minority shareholder is not a control person…absent an allegation
   the shareholder actually exercised some day-to-day control,” but none of Defendants’ cases support
   that proposition—and unlike those cases, Apax and WCAS own 86% of InnovAge’s stock and control
   a majority of the Board. Medina v. Clovis Oncology, Inc., 215 F. Supp. 3d 1094, 1133 (D. Colo. 2017) (two
   defendants held just 6.7% and 2.5% of the company’s stock and were each connected to just one
   board member); Silsby v. Icahn, 17 F. Supp. 3d 348, 371 (S.D.N.Y. 2014) (defendant owned just 14.8%
   of the company’s stock).


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   that Section 11 claims against company defendants were subject to Rule 9(b) while Section 11 claims

   against IPO underwriters were not subject to the heightened pleading requirements of Rule 9(b) be-

   cause only the former claims sounded in fraud); W. Palm Beach Firefighters' Pension Fund v. Conagra Brands,

   Inc., 495 F. Supp. 3d 622, 637 (N.D. Ill. 2020) (same). The Tenth Circuit has agreed, holding that,

   whether or not Rule 9(b) applies to Securities Act claims “premised on fraud,” it did not apply to

   Securities Act claims based on due diligence failures, like Plaintiffs’ claims against the Underwriter

   Defendants. See Schwartz v. Celestial Seasonings, Inc., 124 F.3d 1246, 1251-52 (10th Cir. 1997) (“[a]ssum-

   ing without deciding” that “Rule 9(b) scrutiny” applied to Securities Act claims sounding in fraud and

   finding that Rule 9(b) did not apply to Securities Act claim premised on failures to make “a reasonable

   investigation” of the offering materials).

       This case is no different. The Underwriter Defendants are not named in the Exchange Act claims

   and the Complaint does not allege that the Underwriter Defendants participated in any fraudulent

   scheme. Instead, the Complaint alleges that the Underwriter Defendants failed to meet their due dili-

   gence duties. ¶¶338-48. 365. In re Ultrafem Inc. Sec. Litig., 91 F. Supp. 2d 678, 691 (S.D.N.Y. 2000)

   (holding that Rule 9(b) did not apply to claims against underwriters, because plaintiffs alleged the

   underwriters failed “to meet their due diligence duties,” not that they “were involved in a fraudulent

   scheme”). In any event, the pleading standard makes no difference here, because Plaintiffs’ allegations

   of the details surrounding the misrepresentations satisfy any pleading standard. 38


       38
          The Underwriter Defendants also claim that when a Securities Act claim “sounds in fraud, Rule
   9(b) requires that the complaint plead specific facts that each defendant acted with scienter.” Under-
   writers’ Mot. 15. That is wrong. Neither Section 11 nor Section 12(a)(2) require plaintiffs to prove
   scienter. Herman & MacLean v. Huddleston, 459 U.S. 375, 382 (1983). Rule 9(b)’s heightened pleading
   standard is just that—a pleading standard. Thus, even when courts find that Rule 9(b) applies to Se-
   curities Act claims, that only means that “the circumstances of the fraud be pleaded with particularity,
   it does not require scienter to plead Section 11 and 12 claims.” In re Friedman's, Inc. Securities Litig., 385
   F. Supp. 2d 1345, 1366–67 (N.D. Ga. 2005).


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       Plaintiffs also have adequately pled standing as to their Section 12 statutory seller claims. 39 Plain-

   tiffs submitted sworn certifications verifying the date, amount, and price of their stock purchases, and

   alleged that “Indiana purchased shares of InnovAge common stock in the Offering from Defendant J.P.

   Morgan.” See ECF Nos. 54-1, 2, 3; ¶24 (emphasis added). That is more than enough to establish stand-

   ing for a Section 12(a)(2) claim at the motion to dismiss. See In re Molycorp, Inc. Secs. Litig., 157 F. Supp.

   3d 987, 1017 (D. Colo. 2016) (holding that standing was established through allegations identical to

   those asserted here that plaintiffs “purchased...shares [of] Molycorp common and preferred stock in

   the February and June 2011 Offerings pursuant to the February and June 2011 [p]rospectuses.”). 40

   Even so, Defendants argue that Plaintiffs lack standing because “it is possible that the underwriters sold

   to a broker” and not directly to Indiana (with the consequence that J.P. Morgan would not be a “seller”

   under the statute). Underwriters’ Mot. at 10-12 (emphasis added). This was not pled in the Complaint

   and is pure speculation. At the motion to dismiss, the Court must “accept all factual allegations in the

   complaint as true.” Pluralsight, 45 F.4th at 1248. Plaintiffs provided evidence of their purchases and

   alleged that they bought from J.P. Morgan in the offering, and that is sufficient.

       The Underwriter Defendants’ suggestion otherwise misrepresents the parties’ communications,

   during which Underwriters’ counsel tried to abuse this Court’s conferral requirements for motions to

   dismiss. See Practice Standards for Civil and Criminal Matters (“Practice Standard”) § III.D.1. In


       39
          The Underwriter Defendants do not dispute Plaintiffs’ standing to pursue a Section 11 claim.
   They contend that El Paso and San Antonio cannot pursue Section 12(a)(2) claims due to the timing
   of their stock purchases. Underwriters’ Mot. at 11. This is of no moment because Indiana has standing
   and pleaded sufficient Section 11 and 12(a)(2) claims, and accordingly those claims survive the motions
   to dismiss.
       40
          Moreover, Indiana’s verified purchase of 4,500 shares at $21 per share confirms that it bought
   in the Offering, because InnovAge’s stock never traded as low as $21 per share other than in the
   offering. See Pls. Ex. 1. Historical stock price data “is capable of ready and accurate determination” so
   judicial notice is proper. In re Molycorp, Inc. Securities Litig., 2015 WL 1514712, at *2 (D. Colo. Mar. 30,
   2015).


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   accordance with those requirements, Lead Counsel conferred with Underwriter’ Counsel about their

   anticipated motion to dismiss. Pls. Decl. ¶ 10. During the call, Underwriters’ Counsel raised their belief

   that Plaintiffs did not adequately allege they purchased shares from one of the Underwriter Defend-

   ants in the offering. Id.. Lead Counsel responded by noting that Plaintiffs submitted certifications of

   their purchases and alleged that Indiana had bought on the offering from J.P. Morgan in the Com-

   plaint, and confirmed that Lead Counsel was concurrently looking at documentary evidence confirm-

   ing Indiana bought stock from J.P. Morgan in the Offering. Id. Underwriters’ Counsel refused to

   accept that representation, insisting that Lead Counsel produce redacted account statements. Id. See

   Underwriters’ Mot. 1 n.1, 12 n. 8. The purpose of the Court’s conferral requirement is to avoid Rule

   12 motions that “unreasonably delay the progress of civil litigation” by identifying problems that be

   easily “corrected by amendment.” Practice Standards § III.D.1. But Underwriters’ Counsel neither

   identified any “deficiencies” nor suggested any “corrections” that they believed could be made. Pls.

   Decl. ¶10. Instead, Underwriters’ Counsel insisted that Plaintiffs’ allegations were inaccurate without

   providing any basis, evidence, or explanation supporting that belief. Id. It is thus now clear that Un-

   derwriters’ Counsel tried to exploit the Court’s conferral requirement to extract pre-answer discovery

   and, after that effort failed, now try to misrepresent the parties’ communications to cast doubt on

   well-pleaded allegations. The only question before the Court is whether Plaintiffs’ allegations state a

   claim for relief—they do. Nothing further is required.

                                           CONCLUSION
       For the reasons above, the Court should deny Defendants’ Joint Motion to Dismiss and the Un-

   derwriter Defendants’ Motion to Dismiss in their entirety. 41



       41
         Should the Court grant the Motions, in any part, Plaintiffs respectfully request leave to amend
   the complaint.


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     Date: November 14, 2022          Respectfully submitted,

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                                   CERTIFICATE OF SERVICE
      I hereby certify that on this 14th day of November 2022, I electronically filed a true and correct

   copy of the foregoing Omnibus Opposition to Defendants’ Motions to Dismiss Amended Class Ac-

   tion Complaint with the Clerk of the Court using the CM/ECF system which will send notification

   of such filing to all parties via the CM/ECF system.

                                                          /s/ Cecil E. Morris
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